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Case 3:21-cv-12870-MAS-DEA Document 9-5 Filed 07/14/21 Page 2 of 28 PageID: 189

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  (12) United States Patent                                                    (10 ) Patent No.: US 10 ,039,745 B2
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                                                                                                     FIG . 1
       • Enalapril diketopiperazine ; O Enalaprilat




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                                                                                          FIG . 2

        • Enalapril diketopiperazine ; O Enalaprilat

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               ENALAPRIL FORMULATIONS                                         Enalapril is currently administered in the form of oral
             CROSS -REFERENCE OF RELATED
                                                                            tablets , (e.g., Vasotec® ) or in the form of liquid formulations
                                                                            obtained by reconstitution of enalapril powder formulations.
                          APPLICATIONS                                      In addition to the treatment ofhypertension , enalapril tablets
                                                                        5   have been used for symptomatic congestive heart failure ,
     This application is a continuation of U .S . patent applica            and asymptomatic left ventricular dysfunction .
  tion Ser. No. 157613 ,622, filed Jun . 5 , 2017 , which is a
  continuation of U . S . patent application No. 15 /081 ,603 , filed       SUMMARY OF THE INVENTION
  Mar. 25 , 2016 (now U .S . Pat. No. 9,669,008 , issued Jun. 06 ,
  2017 ), which claims the benefit of U . S . Provisional Patent 10 Provided herein are enalapril oral liquid formulations. In
  Application No. 62/310 , 198 , filed Mar. 18 , 2016 , all of
  which are incorporated herein by reference in their entirety. one aspect, the enalapril oral liquid formulation , comprises
                                                                            ( i) enalapril or a pharmaceutically acceptable salt or solvate
             BACKGROUND OF THE INVENTION                                    thereof; ( ii ) a sweetener that is sucralose ( iii ) a buffer
                                                                            comprising citric acid ; ( iv ) a preservative that is sodium
     Hypertension , or high blood pressure , is a serious health 15 benzoate ; and ( y ) water : wherein the pH of the formulation
  issue in many countries. According to the National Heart is less than about 3 .5 ; and wherein the formulation is stable
  Blood and Lung Institute , it is thought that about 1 in 3        at about 5 + 3° C . for at least 12 months
  adults in the United States alone have hypertension . Left           In some embodiments , the enalapril is enalapril maleate .
  unchecked , hypertension is considered a substantial risk         In some embodiments, the formulation further comprises a
  factor for cardiovascular and other diseases including coro 20 flavoring     agent. In some embodiments, the buffer in the
  nary heart disease , myocardial infarction , congestive heart    formulation further comprises sodium citrate dihydrate . In
  failure , stroke and kidney failure . Hypertension is classified
  as primary essential) hypertension or secondary hyperten         some  embodiments, the amount of enalapril or a pharma
  sion . Primary hypertension has no known cause and may be ceutically acceptable salt or solvate thereof is about 0 . 6 to
  related to a number of environmental, lifestyle and genetic about 1. 2 mg/ml. In some embodiments, the amount of
  factors such as stress , obesity , smoking, inactivity and 25 sucralose is about 0 .5 to about 0 . 9 mg/ml. In some embodi
  sodium intake. Secondary hypertension can be caused by ments, the amount of citric acid in the buffer is about 0 . 8 to
  drug or surgical interventions, or by abnormalities in the                about 3 .5 mg/ml. In some embodiments , the amount of
  renal, cardiovascular or endocrine system .                               sodium citrate dihydrate in the buffer is about 0 . 1 to about
     A number of antihypertensive drugs are available for                   0 .80 mg/ml. In some embodiments , the amount of the
  treating hypertension . Various therapeutic classes of antihy - 30 sodium benzoate is about 0 .2 to about 1,2 mg/ml. In some
  pertensive drugs include alpha -adrenergic blockers, beta          embodiments , the amount of enalapril or a pharmaceutically
  adrenergic blockers, calcium -channel blockers , hypoten           acceptable salt or solvate thereof is about 10 to about 25 %
  sives , mineralcorticoid antagonists , central alpha - agonists , (w / w of solids ). In some embodiments , the amount of
  diuretics and rennin -angiotensin - aldosterone inhibitors sucralose is about 8 to about 18 ( w /w of solids). In some
  which include angiotensin II receptor antagonists (ARB ) and 35 embodiments , the amount of citric acid in the buffer is about
  angiotensin - converting enzyme (ACE ) inhibitors . Angio
  tensin - converting enzyme (ACE ) inhibitors inhibit angio 17 to about 47 % (w / w of solids). In some embodiments, the
                                                                            amount of sodium citrate dihydrate in the buffer is about 1
  tensin -converting enzyme (ACE ), a peptydyl dipeptidase                  to about 11 % ( w / w of solids) . In some embodiments , the
  that catalyzes angiotension I to angiotension II , a potent               amount of sodium benzoate is about 12 to about 25 % ( w / w
  vasoconstrictor involved in regulating blood pressure .
     Enalapril is a prodrug belonging to the angiotensinn . 40 of      solids). In some embodiments , the pH of the formulation
                                                                   is between about 3 and about 3 . 5 . In some embodiments, the
  converting enzyme (ACE ) inhibitor of medications. It is
  rapidly hydrolyzed in the liver to enalaprilat following oral pH of the formulation is about 3. 3 . In some embodiments ,
  administration . Enalaprilat acts as a potent inhibitor of ACE . the citrate concentration in the buffer is about 5 nM to about
  The structural formulae of enalapril and enalaprilat are as              20 mM . In some embodiments , the citrate concentration in
  follows:                                                              45 the buffer is about 10 mM . In some embodiments, the
                                                                            formulation is stable at about 5 - 3° C . for at least 18 months.
                                                                            In some embodiments , the formulation is stable at about
                                                                            5 - 3° C . for at least 24 months . In some embodiments, the
                                                                            formulation does not contain mannitol. In some embodi
                                                                        50 ments , the formulation does not contain silicon dioxide.
                                                                               In one aspect, the enalapril oral liquid formulation , com
                                                                            prises (i) about 1 mg/ml enalapril maleate; ( ii ) about 0 .70
                                                                            mg/ml of a sweetener that is sucralose ; ( iii ) a buffer com
                                     N                                      prising about 1. 82 mg/ml citric acid ; ( iv ) about 1 mg/ml of
                                                 HO
                                                           o            55 a preservative that is sodium benzoate ; and (v ) water ;
                                                                            wherein the pH of the formulation is less than about 3 . 5 ; and
                                Enalapril                                   wherein the formulation is stable at about 5 + 3° C . for at least




         outs
                        HO .      20                                        12 months.
                                                                              In some embodiments , the formulation further comprises
                                                                        60 a flavoring agent. In some embodiments, the buffer further
                                                                            comprises about 0 .15 mg/mL sodium citrate dihydrate . In
                                                                            some embodiments , the pH of the formulation is between
                                                          OH                about 3 and about 3 .5 . In some embodiments, the pH of the
                                                                            formulation is about 3 . 3 . In some embodiments , the citrate
                               Enalaprilat                              65 concentration in the buffer is about 5 mM to about 20 mM .
                                                                            In some embodiments , the citrate concentration in the buffer
                                                                            is about 10 mM . In some embodiments , the formulation is
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  stable at about 5 + 3° C . for at least 18 months . In some      Also provided herein are methods of treating prehyper
  embodiments, the formulation is stable at about 5 + 3° C . for
                                                              tension in a subject comprising administering to that subject
  at least 24 months. In some embodiments , the formulation   a therapeutically effective amount of enalapril oral liquid
  does not contain mannitol. In some embodiments, the for 5 (formulation
                                                               ii ) about 0 ,
                                                                              comprising ( i) about 1 mg/ml enalapril maleate ;
                                                                              7 mg/mlof a sweetener that is sucralose ; ( ii ) a
  mulation does not contain silicon dioxide .
     In one aspect, the enalapril oral liquid formulation com 0 . 15 mg/ml sodium about
                                                              buffer   comprising            1. 82 mg/ml citric acid and about
                                                                                     citrate dihydrate ; ( iv ) about 1 mg/ml of
  prises (i) about 19.3 % (w /w of solids ) enalaprilmaleate; ( ii )    a preservative that is sodium benzoate; and (v ) water;
  about 13 . 5 % ( w / w of solids) of a sweetener that is sucralose ;   wherein the pH of the formulation is less than about 3 . 5 ; and
  ( iii) a buffer comprising about 35 . 2 % ( w /w of solids ) citric wherein the formulation is stable at about 5 + 3° C . for at least
  acid ; (iv ) about 19 .3 % ( w /w of solids) of a preservative that " 12 months. In some embodiments, the formulation does not
  is sodium benzoate ; and ( v ) water ; wherein the pH of the           contain mannitol. In some embodiments, the formulation
  formulation is less than about 3 . 5 ; and wherein the formu           does not contain silicon dioxide.
  lation is stable at about 5 + 3° C . for at least 12 months.              In some embodiments , the subject has blood pressure
     In some embodiments , the formulation further comprises 15 values of  about 120 - 139 /80 -89 mmw ng
                                                                                                       Hg.
  a flavoring agent. In some embodiments , the buffer further 15 in Also provided herein are methods of treating heart failure
                                                                     a subject comprising administering to that subject a
  comprises about 2 . 9 % ( w /w of solids ) sodium citrate dihy         therapeutically effective amount of enalapril oral liquid
  drate. In some embodiments , the pH of the formulation is              formulation comprising (i) about 1 mg/ml enalapril maleate ;
  between about 3 and about 3 .5 . In some embodiments , the             (ii) about 0 .70 mg/ml of a sweetener that is sucralose ; a
  pH of the formulation is about 3 .3 . In some embodiments , 20 buffer comprising about 1.82 mg/ml citric acid and about
  the citrate concentration in the buffer is about 5 mM to about         0 .15 mg/ml sodium citrate dihydrate ; ( iv ) about 1 mg/mlof
  20 mM . In some embodiments, the citrate concentration in           a preservative that is sodium benzoate ; and (v ) water ;
  the buffer is about 10 mM . In some embodiments , the               wherein the pH of the formulation is less than about 3 .5 ; and
  formulation is stable at about 5 + 3° C . for at least 18 months . wherein the formulation is stable at about 5 + 3° C . for at least
  In some embodiments , the formulation is stable at about 25 12 months. In some embodiments , the formulation does not
  5 + 3° C . for at least 24 months. In some embodiments , the contain mannitol. In some embodiments , the formulation
  formulation does not contain mannitol. In some embodi does                not contain silicon dioxide.
                                                                         Also provided herein are methods of treating left ven
  ments , the formulation does not contain silicon dioxide.           tricular dysfunction in a subject comprising administering to
      In one aspect, the enalapril oral liquid formulation con that
  sists essentially of (i) about 1 mg/ml enalapril maleate; ( ii ) 30 oral subject  a therapeutically effective amount of enalapril
                                                                           liquid formulation comprising ( i) about 1 mg/ml enal
  about 0 .70 mg/ml of a sweetener that is sucralose ; ( iii) a          april maleate; (ii ) about 0 .7 mg/ml of a sweetener that is
  buffer comprising about 1. 82 mg/ml citric acid and about              sucralose ; ( iii) a buffer comprising about 1 . 82 mg/ml citric
   0 . 15 mg/ml sodium citrate dihydrate ; ( iv ) about 1 mg/ml of       acid and about 0 . 15 mg/ml sodium citrate dihydrate ; ( iv )
   a preservative that is sodium benzoate ; (v ) a flavoring agent;      about 1 mg/ml of a preservative that is sodium benzoate ; and
   and (vi) water ; wherein the pH of the formulation is less than 35    ( v ) water: wherein the pH of the formulation is less than
  about 3 .5 adjusted by sodium hydroxide or hydrochloric                about 3.5 ; and wherein the formulation is stable at about
  acid ; and wherein the formulation is stable at about 5 + 3° C .       5 + 3° C . for at least 12 months. In some embodiments, the
  for at least 12 months.                                                 formulation does not contain mannitol. In some embodi
     Also provided herein are methods of treating hypertension           ments , the formulation does not contain silicon dioxide .
  in a subject comprising administering to that subject a 40
  therapeutically effective amount of enalapril oral liquid                         INCORPORATION BY REFERENCE
  formulation comprising (i) about 1 mg/mlenalapril maleate ;               All publications, patents, and patent applications men
  ( ii ) about 0 .7 mg/ml sucralose; (iii ) a buffer comprising          tioned in this specification are herein incorporated by ref
  about 1.82 mg/ml citric acid and about 0 . 15 mg/ml sodium             tion
  citrate dihydrate : (iv ) about 1 mg/ml of a preservative that is 45 erence to the same extent as if each individual publication .
  sodium benzoate ; and ( y ) water wherein the pH of the patent, or patent application was specifically and individu
  formulation is less than about 3 . 5 : and wherein the formu- ally indicated to be incorporated by reference .
  lation is stable at about 5 + 3° C . for at least 12 months. In      BRIEF DESCRIPTION OF THE DRAWINGS
  some embodiments, the formulation does not contain man
  nitol. In some embodiments , the formulation does not con - 50 The novel features of the invention are set forth with
  tain silicon dioxide .                                        particularity in the appended claims. A better understanding
      In some embodiments , the hypertension is primary ( es - of the features and advantages of the present invention will
  sential) hypertension . In some embodiments , the hyperten - be obtained by reference to the following detailed descrip
  sion is secondary hypertension . In some embodiments , the tion that sets forth illustrative embodiments, in which the
  subject has blood pressure values greater than or equal to 55 principles of the invention are utilized , and the accompany
   140 / 90 mmm Hg . In some embodiments , the subject is an    ing drawings of which :
  adult. In some embodiments, the subject is elderly . In some     FIG . 1 : Effect of pH on degradant formation after 8 weeks
  embodiments, the subject is a child . In some embodiments , ofstorage of various enalapril solution formulations at 5° C .
  the formulation is administered to the subject in a fasted         FIG . 2 : Effect of pH on degradant formation after 8 weeks
  state . In some embodiments , the formulation is administered 60 of storage of various enalapril solution formulations at room
  to the subject in a fed state . In some embodiments , the temperature (19 -22° C .).
  formulation is further administered in combination with an
  agent selected from the group consisting of diuretics, beta                  DETAILED DESCRIPTION OF THE
  blockers , alpha blockers , mixed alpha and beta blockers ,                                    INVENTION
  calcium channel blockers , angiotensin II receptor antago - 65
  nists , ACE inhibitors, aldosterone antagonists , and alpha -2           Provided herein are stable enalapril oral liquid formula
  agonists .                                                             tions . Also provided herein are stable enalapril powder
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  formulations for reconstitution for oral liquid administra              instances, the enalapril salt is enalapril maleate . In other
  tion . These enalapril formulations described herein are use
                                                             use          instances , the enalapril salt is in the form of enalapril
  ful for the treatment of hypertension , prehypertension , heart         sodium .
  failure as well as ventricular dysfunction . The formulations              Other ACE inhibitors are contemplated in the formula
  are advantageous over conventional solid dosage adminis - 5             tions within and include but are not limited to quinapril,
  tration of enalapril ranging from ease of administration ,              indolapril, ramipril , perindopril, lisinopril, benazepril , imi
  accuracy of dosing, accessibility to additional patient popu            dapril, zofenopril, trandolapril, fosinopril, captopril, and
                                                                   their salts, solvates , derivatives, polymorphs, or complexes,
  lations such as to children and the elderly , and an increased thereof
  patient compliance to medication .                                       .
     It is generally known that certain segments of the popu    10 Enalapril   Oral Liquid Formulations
  lation have difficulty ingesting and swallowing solid oral          Oral  liquids include, but are not limited to , solutions (both
  dosage forms such as tablets and capsules . As many as a                aqueous and nonaqueous ), suspensions, emulsions, syrups ,
  quarter of the total population has this difficulty . Often , this      slurries, juices, elixirs , dispersions, and the like. It is envi
                                                                          sioned that solution/ suspensions are also included where
  leads to non - compliance with the recommended medical
  therapy with the solid dosage forms, thereby resulting in 15 certain      components described herein are in a solution while
                                                                     other components are in a suspension .
  rending the therapy ineffective. Further, solid dosage forms               In one aspect, the enalapril liquid formulations described
  are not recommended for children or elderly due to                      herein comprise enalapril, a preservative , a sweetening
  increased risk in choking .                                             agent, a buffer , and water. In one embodiment, the sweet
     Furthermore, the dose of enalapril to be given to children 20 ening agent is sucralose . In one embodiment, the sweetening
  is calculated according to the child 's weight. When the agent is xylitol. In one embodiment, the sweetening agent is
  calculated dose is something other than the amount present not mannitol. In another embodiment, the preservative is
   in one or more intact solid dosage forms, the solid dosage   sodium benzoate . In some embodiments , the preservative is
  form must be divided to provide the correct dose . This leads a paraben . In some embodiments, the preservative is a
  to inaccurate dosing when solid dosages forms, such as 25 mixture of parabens . In yet another embodiment, the buffer
  tablets , are compounded to prepare other formulations for comprises citric acid . In some embodiments, the buffer
  children .                                                    further comprises sodium citrate . In one aspect, the enalapril
      For enalapril, one solution to overcoming the use of the liquid formulation described herein comprises enalapril,
  tablet form is for a compounding pharmacist to pulverize sucralose, sodium benzoate , citric acid , sodium citrate , and
  and crush the enalapril tablet(s ) into a powder via mortar andà 3030   water. In some embodiments, the enalapril liquid formula
                                                                          tion herein further comprises a flavoring agent. In some
  pestle and reconstitute the powder in some liquid form .                embodiments, the enalapril liquid formulation is not
  However forming a enalapril oral liquid in this fashion has             obtained from crushing enalapril tablet and dissolving the
  significant drawbacks including large variability in the                powder in a suitable vehicle for oral administration . In some
  actual dosage , incomplete solubilizing of the enalapril tabletel ,35   embodiments , the enalapril liquid formulation does not
  in the liquid , rapid instability , inconsistent formulation            contain silicon dioxide . In some embodiments , the enalapril
  methods per compounding pharmacy, and a number of otherr                liquid formulation does not contain mannitol. In some
  potential issues . The crushed tablet liquid formulation may            embodiments , the enalapril liquid formulation does not
   also be potentially unsafe due to contamination with residual          contain lactose . In some embodiments, the enalapril liquid
   drugs and other substances from the mortar and pestle or 40 formulation does not contain magnesium stearate . In some
  other crushing agent.                                                   embodiments , the enalapril liquid formulation does not
     Alternatively , enalapril is formulated as enalapril powder          contain sodium bicarbonate. In some embodiments, the
  compositions for reconstitution as oral liquids as described            enalapril liquid formulation does not contain iron oxides .
  in U .S . Pat. No. 8 ,568,747 . The powder compositions as                 In some embodiments, enalapril or a pharmaceutically
  described in this patent require mannitol and colloidal 45 acceptable salt thereof, is present in about 0 .6 to about 1. 2
  silicon dioxide for stability and dissolution . While these             mg/ml in the oral liquid formulation . In other embodiments ,
  powder compositions are an improvement over crushing                    enalapril or a pharmaceutically acceptable salt thereof, is
   tablets , they still require a step of mixing with a diluent. The      present in about 0 .6 mg/ml, about 0 .61 mg/ml, about 0 .62
   stable enalapril oral liquid formulations described herein             mg/ml, about 0 .63 mg/ml, about 0 .64 mg/ml, about 0 .65
  require no extra steps or manipulation prior to administra - 50 mg/ml, about 0 .66 mg/ml, about 0 .67 mg/ml, about 0 .68
  tion to a subject. Further, the stable enalapril oral liquid            mg/ml,   about 0 .69 mg/ml, about 0 .7 mg/ml, about 0 . 71
  formulations described herein do not require or need man -              mg/ml,   about 0 .72 mg/ml, about 0 .73 mg/ml, about 0 .74
  nitol or colloidal silicon dioxide for stability and dissolution .      mg/ml,   about 0 .75 mg/ml, about 0 .76 mg/ml, about 0 . 77
     The present embodiments described herein provide a safe              mg/ml,   about 0 .78 mg/ml, about 0 .79 mg/ml, about 0 . 8
  and effective oral administration of enalapril for the treat- 55        mg/ml,   about 0 . 81 mg/ml, about 0 .82 mg/ml, about 0 .83
  ment of hypertension and other disorders . In particular, the           mg/ml, about 0.84 mg/ml, about 0.85 mg/ml, about 0.86
   embodiments provide stable enalapril oral liquid formula -             mg/ml, about 0 . 87 mg/ml, about 0 .88 mg/ml, about 0 . 89
   tions as well as alternatively enalapril powder formulations           mg/ml, about 0 . 9 mg/ml, about 0 .91 mg/ml, about 0 .92
   for oral liquid administration .                                  mg/ml, about 0 . 93 mg/ml, about 0 . 94 mg/ml, about 0 . 95
     As used herein , " enalapril” refers to enalapril base , its 60 mg/ml, about 0 . 96 mg/ml, about 0 . 97 mg/ml, about 0 . 98
  salt, or solvate or derivative or isomer or polymorph thereof. mg/ml, about 0 .99 mg/ml, about 1 mg/ml, about 1.01mg/ml,
  Suitable compounds include the free base, the organic and               about 1.02, mg/ml, about 1.03 mg/ml, about 1.04 mg/ml,
  inorganic salts, isomers , isomer salts , solvates , polymorphs,        about 1 . 05 mg/ml, about 1 . 06 mg/ml, about 1 .07 mg/ml,
  complexes etc . U .S . Pat. Nos. 4 ,374,829 ; 4 ,472 ,380 and           about 1.08 mg/ml, about 1.09 mg/ml, about 1. 1 mg/ml,
  4 ,510 ,083 disclose exemplary methods in the preparation of 65 about 1. 11 mg/ml, about 1 .12 , mg/ml, about 1. 13 mg/ml,
  enalapril . In some embodiments , the enalapril used in the     about 1 . 14 mg/ml, about 1. 15 mg/ml, about 1 . 16 mg/ml,
  formulations described herein is an enalapril salt. In some about 1 . 17 mg/ml, about 1. 18 mg/ml, about 1 . 19 mg/ml, or
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   about 1 .2 mg/ml in the liquid oral formulation . In some                      In some embodiments, enalapril or a pharmaceutically
  embodiments , enalapril is present in about 0 .76 mg/ml in the               acceptable salt thereof, is present in about 0 .1 % w /w to
  oral liquid formulation. In some embodiments, enalapril                      about 1 % w /w of the solids in the oral liquid formulation . In
  maleate is present in about 1 mg/ml in the oral liquid                       other embodiments , enalapril or a pharmaceutically accept
  formulation. In some embodiments , the formulation con - 5 able salt thereof, is present in about 0 . 1 % w /w , about 0 . 15 %
  tains enalapril or another pharmaceutically acceptable salt of w /w , about 0 . 2 % w / w , about 0 .25 % w / w , about 0 .3 % w / w ,
  enalapril in a molar concentration equivalent to 1 mg/ml, about 0 .35 % w /w , about 0 .4 % w /w , about 0 .45 % w /w , about
  enalapril maleate . In some embodiments, the formulation w0 ./5w %, about
                                                                      w / w , about 0 .55 % w /w , about 0 .6 % w /w , about 0 .65 %
                                                                                0 . 7 % w / w , about 0 . 75 % w / w , about 0 . 8 % w / w ,
  contains enalapril or another pharmaceutically acceptable? 10 about  0 . 85 %     w /w , about 0 . 9 % w /w , about 0 . 95 % w /w , or
  salt of enalapril in a molar concentration equivalent to 0 . 76              about 1 % w / w of the solids in the oral liquid formulation . In
  mg/mL enalapril.                                                       some embodiments , enalapril or a pharmaceutically accept
    In some embodiments , enalapril or a pharmaceutically
  acceptable salt thereof, is present in about 0 . 5 % w /w to w /w salt able    thereof, is present in about 0.4 % w /w to about 0 .7 %
                                                                              of the solids in the oral liquid formulation . In some
  about 30 % w /w of the solids in the oral liquid formulation  on .. 15 embodiments , enalapril is present in about 0 .4 % w /w of the
  In other embodiments, enalapril or a pharmaceutically solids in the oral liquid formulation. In some embodiments
  acceptable salt thereof, is present in about 0 . 5 % w /w , about enalapril is present in about 0 .5 % w / w of the solids in the
   1 % w /w , about 1. 5 % w / w , about 2 % w / w , about 2 .5 % w /w ,       oral liquid formulation . In some embodiments , enalapril
   about 3 % w / w , about 3 . 5 % w /w , about 4 % w /w , about 4 . 5 %       maleate is present in about 0 .5 % w / w of the solids in the oral
  w / w , about 5 % w /w , about 5 .5 % w /w , about 6 % w /w , about 20 liquid formulation. In some embodiments, enalapril maleate
  6 .5 % w /w , about 7 % w / w , about 7 . 5 % w / w , about 8 % w /w         is present in about 0 .6 % w /w of the solids in the oral liquid
  about 8 . 5 % w / w , about 9 % w / w , about 9 . 5 % w / w , about 10 %     formulation .
   w / w , about 10 . 5 % w / w , about 11 % w /w , about 11 . 5 % w /w ,      Sweetener in the Enalapril Oral Liquid Formulations
   about 12 % w / w , about 12 . 5 % w / w , about 13 % w /w , about             Sweeteners or sweetening agents include any compounds
   13 .5 % w /w , about 14 % w /w , about 14 .5 % w /w , about 15 % 25 that provide a sweet taste . This includes natural and syn
   w / w , about 15 . 1 % w /w , about 15 .2 % w / w , about 15 . 3 % w /w ,   thetic sugars, natural and artificial sweeteners , natural
   about 15 .4 % w /w , about 15 . 5 % w / w , about 15 .6 % w /w ,            extracts and any material that initiates a sweet sensation in
  about 15 .7 % w /w , about 15 .8 % w /w , about 15 .9 % w /w ,               a subject. In some embodiments, a solid /powder sweetener
  about 16 % w / w , about 16 . 1 % w / w , about 16 . 2 % w / w , about       is used in the oral liquid formulation described herein . In
   16 .3 % w /w , about 16 . 4 % w / w , about 16 . 5 % w / w , about 30 other embodiments, a liquid sweetener is used in the oral
   16 .6 % w / w , about 16 .7 % w / w , about 16 . 8 % w /w , about     liquid formulation described herein .
  16 .9 % w /w , about 17 % w /w , about 17 .1 % w /w , about 17.2 %             Sugars illustratively include glucose, fructose, sucrose ,
   w / w , about 17. 3 % w /w , about 17 .4 w /w , about 17 .5 % w / w ,       xylitol, tagatose , sucralose , maltitol, isomaltulose , IsomaltTM
  about 17 .6 % w /w , about 17 .7 % w / w , about 17 .8 % w /w ,              (hydrogenated isomaltulose ), lactitol, sorbitol, erythritol,
  about 17 . 9 % w / w , about 18 % w / w , about 18 . 1 % w / w , about 35 trehalose, maltodextrin , polydextrose , and the like. Other
  18 . 2 % w / w , about 18 . 3 % w / w , about 18 . 4 % w / w , about 18 . 5 sweeteners illustratively include glycerin , inulin , erythritol,
  w / w , about 18.6 % w /w , about 18 .7 % w /w , about 18 .8 % w /w ,        maltol, acesulfame and salts thereof, e.g ., acesulfame potas
  about 18 . 9 % w / w , about 19 % w /w , about 19. 1 % w /w , about     sium , alitame, aspartame, neotame, sodium cyclamate , sac
  19 . 2 % w /w , about 19 .3 % w /w , about 19 . 4 % w /w , about charin and salts thereof, e . g ., saccharin sodium or saccharin
  19 .5 % w /w , about 19 .6 % w /w , about 19 . 7 % w /w , about 40 calcium , neohesperidin dihydrochalcone , stevioside , thau
  19.8 % w / w , about 19 . 9 % w /w , about 20 % w / w , about 20 . 1 % matin , and the like . Sweeteners can be used in the form of
   w /w , about 20 .2 % w /w , about 20 .3 % w /w , about 20 .4 % w /w ,       crude or refined products such as hydrogenated starch
   about 20 .5 % w /w , about 20 .6 % w /w , about 20 .7 % w /w ,              hydrolysates, maltitol syrup , high fructose corn syrup , etc .,
  about 20 . 8 % w / w , about 20 . 9 % w /w , about 21 % w / w , about        and as branded products , e . g ., Sweet AmTM liquid (Product
  21. 1 % w /w , about 21.2 w /w , about 21.3 % w / w , about 21 .4 % 45 Code 918 .003 -propylene glycol, ethyl alcohol, and propri
  w /w , about 21. 5 % w /w , about 21.6 % w / w , about 21. 7 % w /w , etary artificial flavor combination , Flavors of North
  about 21.8 % w /w , about 21. 9 % w /w , about 22 % w /w , about America ) and Sweet AmTM powder ( Product Code
  22. 5 % w / w , about 23 % w /w , about 23 .5 % w /w , about 24 %      918 .005 — maltodextrin , sorbitol, and fructose combination
  w / w , about 24 . 5 % w / w , about 25 % w /w , about 25 . 5 % w /w , and Product Code 918.010 - water, propylene glycol, sor
  about 26 % w /w , about 26 .5 % w / w , about 27 % w /w , about 50 bitol, fructose , and proprietary natural and artificial flavor
  27 . 5 % w / w , about 28 % w / w , about 28 .5 % w /w , about 29 %          combination , Flavors of North America ), ProSweetTM
  w / w , about 29 . 5 % w /w , or about 30 % w / w of the solids in           ( 1 - 10 % proprietary plant/vegetable extract and 90 - 99 % dex
  the oral liquid formulation . In some embodiments, enalapril                 trose combination , Viriginia Dare ), MaltisweetTM (maltitol
  or a pharmaceutically acceptable salt thereof, is present in                 solution , Ingredion ), SorboTM ( sorbitol and sorbitol/ xylitol
  about 10 % w /w to about 25 % w /w of the solids in the oral 55              solution , SPI Polyols ), InvertoseTM ( high fructose corn
  liquid formulation . In some embodiments, enalapril is pres -                syrup, Ingredion ), Rebalance M60 and X60 (sucralose and
   ent in about 10 .5 % w / w of the solids in the oral liquid                 maltodextrin , Tate and Lyle ), and Ora - Sweet® sugar- free
   formulation . In some embodiments , enalapril is present in                 flavored syrup (Paddock Laboratories , Inc. ). Sweeteners can
   about 15 % w / w of the solids in the oral liquid formulation .             be used singly or in combinations of two or more . Suitable
  In some embodiments , enalapril is present in about 18 . 2 w / w 60 concentrations of different sweeteners can be selected based
  of the solids in the oral liquid formulation . In some embodi-               on published information , manufacturers ' data sheets and by
  ments, enalapril maleate is present in about 13 .5 % w / w of                routine testing .
  the solids in the oral liquid formulation . In some embodi-                     In some embodiments , the enalapril oral liquid formula
  ments, enalapril maleate is present in about 19 .3 % w / w of                tion described herein comprises a sweetening agent. In some
  the solids in the oral liquid formulation . In some embodi- 65 embodiments, the sweetening agent is sucralose. In some
  ments , enalapril maleate is present in about 24 .5 % w /w of                embodiments, the sweetening agent is xylitol. In some
  the solids in the oral liquid formulation .                                  embodiments , the sweetener is not mannitol.
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     In some embodiments , the enalapril oral liquid formula                     w /w , about 84 % w / w , about 85 % w /w , about 86 % w /w ,
  tion described herein comprises sucralose . In some embodi                    about 87 % w / w , about 88 % w / w , about 89 % w /w , about 90 %
  ments , sucralose is present in about 0 .5 to about 0 .9 mg/ml                 w / w , about 91 % w /w , about 92 % w /w , about 93 % w /w ,
  in the oral liquid formulation . In other embodiments , sucral - about 94 % w / w , about 95 % w / w , about 96 % w / w , about 97 %
  ose is present in about 0 .51mg/ml, about 0 .52 mg/ml, about 5 w / w , about 98 % w / w or about 99 % w / w of the solids in the
  0 .53 mg/ml, about 0 .54 mg/ml, about 0 .55 mg/ml, about         oral liquid formulation . In some embodiments , xylitol is
   0 .56 mg/ml, about 0 .57 mg/ml, about 0. 58 mg/ml, about                     present in about 96 % w /w to about 98 % w /w of the solids
   0 . 59 mg/ml, about 0 .60 mg/ml, about 0 .61 mg/ml, about                     in the oral liquid formulation . In some embodiments , xylitol
   0 .62 mg/ml, about 0 .63 mg/ml, about 0 .64 mg/ml, about     is present in about 96 % w / w of the solids in the oral liquid
   0 .65 mg/ml, about 0 . 66 mg/ml, about 0 .67 mg/ml, about 10 formulation .
   0 .68 mg/ml, about 0 .69 mg/ml, about 0 .70 mg/ml, about     Preservative in the Enalapril Oral Liquid Formulations
   0 .71 mg/ml, about 0 .72 mg/ml, about 0 .73 mg/ml, about      Preservatives include anti-microbials, anti-oxidants , and
   0 .74 mg/ml, about 0 . 75 mg/ml, about 0 . 76 mg/ml, about agents that enhance sterility . Exemplary preservatives
   0 .77 mg/ml, about 0 . 78 mg/ml, about 0 .79 mg/ml, about include ascorbic acid , ascorbyl palmitate , BHA, BHT, citric
   0 .80 mg/ml, about 0 .81 mg/ml, about 0 .82 mg/ml, about 15 acid , EDTA and its salts, erythorbic acid , fumaric acid ,malic
   0 .83 mg/ml, about 0 .84 mg/ml, about 0 .85 mg/ml, about acid , propyl gallate , sodium ascorbate , sodium bisulfate ,
  0 .86 mg/ml, about 0 .87 mg/ml, about 0 .88 mg/ml, about                      sodium metabisulfite , sodium sulfite , parabens (such as
   0 .89 mg/ml, or about 0 . 90 mg/ml in the oral liquid formu -                methylparaben , ethylparaben , propylparaben , butylparaben
  lation. In some embodiments, sucralose is present in about                    and their salts ), benzoic acid , sodium benzoate, potassium
   0 . 7 mg/ml in the oral liquid formulation .                              20 sorbate , vanillin , and the like .
      In some embodiments , sucralose is present in about 1 %                      In some embodiments , the enalapril oral liquid formula
  w / w to about 30 % w /w of the solids in the oral liquid                     tion described herein comprises a preservative .
  formulation . In some embodiments, sucralose is present in                       In some embodiments, the preservative is a paraben and
  about 1 % w / w , about 1 . 5 % w /w , about 2 % w /w , about 2 . 5 %         the sweetener is not a sugar ( such as, but not limited to
   w / w , about 3 % w /w , about 3 .5 % w /w , about 4 % w / w , about 25 glucose, fructose , sucrose , lactose, maltose ) or a sugar
   4 .5 % w /w , about 5 % w /w , about 5 .5 % w /w , about 6 % w / w , alcohol (such as, but not limited to xylitol, mannitol, lactitol,
  about 6 . 5 % w / w , about 7 % w / w , about 7 .5 % w /w , about 8 %         maltitol, sorbitol).
   w /w , about 8 .5 % w /w , about 9 % w /w , about 9 .5 % w /w                   In some embodiments , the preservative is sodium benzo
  about 10 % w /w , about 10 . 5 % w / w , about 11 % w /w , about ate .
  11 . 5 % w /w , about 12 % w / w , about 12 .5 % w /w , about 13 % 30 In some embodiments , modulation of the pH is desired to
   w / w , about 13 . 5 % w / w , about 14 % w / w , about 14 . 5 % w / w       provide the best antimicrobial activity of the preservative ,
   about 15 % w / w , about 15 . 5 % w / w , about 16 % w /w , about             sodium benzoate . In some embodiments, the antimicrobial
   16 . 5 % w / w , about 17 % w / w , about 17 . 5 % w / w , about 18 %         activity of sodium benzoate drops when the pH is increased
   w / w , about 18 .5 % w / w , about 19 % w / w , about 19 . 5 % w / w ,       above 5 .
  about 20 % w /w , about 20 . 5 % w / w , about 21% w / w , about 35 In some embodiments , the pH of the enalapril oral liquid
  21. 5 % w /w , about 22 % w / w , about 22 .5 % w /w , about 23 %      formulation described herein is less than about 4 . In some
  w / w , about 23 . 5 % w /w , about 24 % w /w , about 24 . 5 % w /w ,  embodiments , the pH of the enalapril oral liquid formulation
  about 25 % w /w , about 25 .5 % w / w , about 26 % w /w , about described herein is less than about 3 . 5 . In some embodi
  26 .5 % w / w , about 27 % w /w , about 27 .5 % w /w , about 28 %     ments , the pH of the enalapril oral liquid formulation
   w / w , about 28 . 5 % w / w , about 29 % w / w , about 29 . 5 % w / w , 40 described herein is between about 3 and about 4 . In some
  or about 30 % w / w of the solids in the oral liquid formula -                 embodiments , the pH of the enalapril oral liquid formulation
  tion . In some embodiments , sucralose is present in about 8 %                 described herein is between about 3 and about 3 . 5 . In some
   w /w to about 18 % w / w of the solids in the oral liquid                     embodiments , the pH of the enalapril oral liquid formulation
  formulation . In some embodiments , sucralose is present in                    described herein is about 3 , about 3 . 1 , about 3 .2 , about 3 .3 ,
  about 9 . 5 % w /w of the solids in the oral liquid formulation . 45           about 3 . 4 , about 3 .5 , about 3 .6 , about 3 . 7 , about 3 . 8 , about
  In some embodiments , sucralose is present in about 13 . 5 %                   3 . 9 , or about 4 . In some embodiments , the pH of the
   w / w of the solids in the oral liquid formulation . In some                  enalapril oral liquid formulation described herein is about
   embodiments , sucralose is present in about 16 .5 % w / w of                  3 .3 .
  the solids in the oral liquid formulation .                                        In some embodiments , sodium benzoate is present in
      In some embodiments, the enalapril oral liquid formula - 50 about 0 .2 to about 1 .2 mg/ml in the oral liquid formulation .
  tion described herein comprises xylitol. In some embodi-                      In other embodiments, sodium benzoate is present in about
  ments, xylitol is present in about 140 mg/ml to about 210                     0 . 2 mg/ml, about 0 .21 mg/ml, about 0 .22 mg/ml, about 0 . 23
  mg/ml in the oral liquid formulation .                                        mg/ml, about 0 .24 mg/ml, about 0 .25 mg/ml, about 0 . 26
      In some embodiments, xylitol is present in about 140                      mg/ml, about 0 .27 mg/ml, about 0 . 28 mg/ml, about 0 .29
  mg/ml, about 145 mg/ml, about 150 mg/ml, about 155 55 mg/ml, about 0 . 3 mg/ml, about 0 .31 mg/ml, about 0 . 32
  mg/ml, about 160 mg/ml, about 165 mg/ml, about 170                            mg/ml, about 0 .33 mg/ml, about 0.34 mg/ml, about 0.35
  mg/ml, about 175 mg/ml, about 180 mg/ml, about 185                            mg/ml, about 0 . 36 mg/ml, about 0 .37 mg/ml, about 0 . 38
  mg/ml, about 190 mg/ml, about 195 mg/ml, about 200                            mg/ml, about 0 .39 mg/ml, about 0 . 4 mg/ml, about 0 .41
  mg/ml, about 205 mg/ml, or about 210 mg/ml of the oral mg/ml, about 0 .42 mg/ml, about 0 .43 mg/ml, about 0 . 44
  liquid formulation . In some embodiments, xylitol is present 60 mg/ml, about 0 .45 mg/ml, about 0 .46 mg/ml, about 0 .47
   in about 150 mg/ml in the oral liquid formulation . In some                  mg/ml, about 0 .48 mg/ml, about 0 .49 mg/ml, about 0 .5
   embodiments, xylitol is present in about 200 mg/ml in the                    mg/ml, about 0 .51 mg/ml, about 0 .52 mg/ml, about 0 . 53
  oral liquid formulation .                                          mg/ml,               about 0 .54 mg/ml, about 0 .55 mg/ml, about               0 . 56
      In some embodiments, xylitol is present in about 80 %          mg/ml,               about 0 . 57 mg/ml, about 0 .58 mg/ml, about              0 . 59
  w / w to about 99 % w /w of the solids in the oral liquid 65 mg/ml,                     about 0 .6 mg/ml, about 0 .61 mg/ml, about                0 .62
  formulation . In other embodiments , xylitol is present in         mg/ml,               about 0 .63 mg/ml, about 0 .64 mg/ml, about               0 .65
  about 80 % w / w , about 81 % w /w , about 82 % w / w , about 83 % mg/ml,               about 0 .66 mg/ml, about 0 .67 mg/ml, about               0 .68
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  mg/ml, about 0 .69 mg/ml, about 0.7 mg/ml, about 0 .71                       liquid formulation . In some embodiments, sodium benzoate
  mg/ml, about 0 .72 mg/ml, about 0 .73 mg/ml, about 0 .74                     is present in about 23.5 % w /w of the solids in the oral liquid
  mg/ml, about 0 .75 mg/ml, about 0 . 76 mg/ml, about 0 .77                    formulation .
  mg/ml, about 0 .78 mg/ml, about 0 .79 mg/ml, about 0 .8                          In some embodiments , sodium benzoate is present in
  mg/ml, about 0 . 81 mg/ml, about 0 .82 mg/ml, about 0 .83 5 about 0 . 1 % w /w to about 1 % w /w of the solids in the oral
  mg/ml, about 0 .84 mg/ml, about 0 .85 mg/ml, about 0 .86    liquid formulation . In other embodiments, sodium benzoate
  mg/ml, about 0 .87 mg/ml, about 0 . 88 mg/ml, about 0 . 89                   is present in about 0 . 1 % w / w , about 0 . 15 % w / w , about 0 . 2 %
  mg/ml, about 0 . 9 mg/ml, about 0 .91 mg/ml, about 0 .92                     w /w , about 0 .25 % w / w , about 0 .3 % w /w , about 0 . 35 % w /w ,
  mg/ml, about 0 .93 mg/ml, about 0 . 94 mg/ml, about 0 . 95    about 0 . 4 % w /w , about 0 . 45 % w / w , about 0 . 5 % w / w , about
  mg/ml, about 0 .96 mg/ml, about 0 . 97 mg/ml, about 0 . 98 10 0 .55 % w / w , about 0 .6 % w /w , about 0 .65 % w / w , about 0 .7 %
  mg/ml, about 0 . 99mg/ml, about 1 mg/ml, about 1 .01 mg/ml,   w /w , about 0 .75 % w /w , about 0 . 8 % w /w , about 0 . 85 % w / w ,
  about 1 .02, mg/ml, about 1. 03 mg/ml, about 1 .04 mg/ml,     about 0 . 9 % w /w , about 0 . 95 % w /w , or about 1 % w / w of the
  about 1 . 05 mg/ml, about 1 . 06 mg/ml, about 1 .07 mg/ml,                   solids in the oral liquid formulation . In some embodiments ,
  about 1 .08 mg/ml, about 1.09 mg/ml, about 1. 1 mg/ml, 15 sodium benzoate is present in about 0 .4 % w /w to about 0 .7 %
  about 1. 11 mg/ml, about 1 .12 , mg/ml, about 1 . 13 mg/ml, w /w of the solids in the oral liquid formulation . In some
   about 1 . 14 mg/ml, about 1 .15 mg/ml, about 1. 16 mg/ml,                   embodiments , sodium benzoate is present in about 0 . 45 %
  about 1 . 17 mg/ml, about 1 .18 mg/ml, about 1 .19 mg/ml, or                 w /w of the solids in the oral liquid formulation . In some
  about 1 . 2 mg/ml in the liquid oral formulation . In some                   embodiments, sodium benzoate is present in about 0 .6 %
   embodiments , sodium benzoate is present in about 1 mg/ml 20 w /w of the solids in the oral liquid formulation .
   in the oral liquid formulation .                                               In some embodiments, sodium benzoate is present in an
     In some embodiments , sodium benzoate is present in                       amount sufficient to provide antimicrobial effectiveness to
  about 1 % w /w to about 30 % w /w of the solids in the oral                  the enalapril oral liquid formulation described herein . (See
  liquid formulation . In other embodiments , sodium benzoate            Table G - 1 ).
  is present in about 1 % w / w , about 1. 5 % w /w , about 2 % w /w , 25 In some embodiments , the preservative is a paraben . In
   about 2 .5 % w /w , about 3 % w / w , about 3 .5 % w / w , about 4 % some embodiments , the preservative is a mixture of para
  w /w , about 4 .5 % w /w , about 5 % w /w , about 5 .5 % w /w , bens . In some embodiments, the paraben or mixture of
  about 6 % w / w , about 6 .5 % w / w , about 7 % w /w , about 7 . 5 % parabens is present in about 0 .1 mg/ml to about 2 mg/mlin
  w /w , about 8 % w /w , about 8 .5 % w /w , about 9 % w /w , about the oral liquid formulation . In other embodiments , the
  9 .5 % w /w , about 10 % w / w , about 10 . 5 % w / w , about 11 % 30 paraben or mixture of parabens is present in about 0 . 1
  w /w , about 11. 5 % w /w , about 12 % w / w , about 12 .5 % w /w , mg/ml, about 0 .2 mg/ml, about 0. 3 mg/ml, about 0 .4 mg/ml,
  about 13 % w / w , about 13 . 5 % w /w , about 14 % w / w , about about 0. 5 mg/ml, about 0 .6 mg/ml, about 0 .7 mg/ml, about
   14 .5 % w / w , about 15 % w / w , about 15 . 1 % w / w , about 15 . 2 %     0 .8 mg/ml, about 0 .9 mg/ml, about 1 mg/ml, about 1. 1
   w / w , about 15 . 3 % w / w , about 15 .4 % w / w , about 15 .5 % w /w , 25 mg/ml, about 1 .2 mg/ml, about 1 . 3 mg/ml, about 1 . 4 mg/ml,
   about 15 .6 % w /w , about 15 .7 % w /w , about 15 .8 % w /w                 or about 1 .5 mg/ml, about 1 .6 mg/ml, about 1. 7 mg/ml,
   about 15 . 9 % w /w , about 16 % w /w , about 16 . 1 % w /w , about about 1 . 8 mg/ml, about 1 . 9 mg/ml, or about 2 mg/ml in the
   16 .2 % w /w , about 16 .3 % w / w , about 16 .4 % w /w , about liquid oral formulation . In some embodiments, the paraben
   16 . 5 % w /w , about 16 .6 % w / w , about 16 .7 % w /w , about ormixture of parabens is present in about 1 .6 mg/mlto about
   16 .8 % w / w , about 16 .9 % w /w , about 17 % w /w , about 17 .1 % 40 2 mg/ml in the oral liquid formulation . In some embodi
   w / w , about 17 . 2 % w /w , about 17 .3 % w / w , about 17. 4 % w /w , ments , the paraben or mixture of parabens is present in about
   about 17 .5 % w /w , about 17 .6 % w /w , about 17 .7 % w /w ,             1.6 mg/mlto about 1 . 8 mg/ml in the oral liquid formulation .
   about 17 .8 % w / w , about 17 .9 % w / w , about 18 % w /w , about In some embodiments, the paraben or mixture of parabens is
   18 . 1 % w /w , about 18 .2 % w /w , about 18 . 3 % w /w , about present in about 0 . 1 mg/ml to about 0 .5 mg/ml in the oral
   18 .4 % w /w , about 18 . 5 % w / w , about 18 .6 % w /w , about 45 liquid formulation .
   18 .7 % w / w , about 18 . 8 % w /w , about 18 . 9 % w /w , about 19 %        In some embodiments, the paraben or mixture of parabens
   w / w , about 19 . 1 % w /w , about 19. 2 % w / w , about 19 . 3 % w / w , is present in about 2 % w /w to about 30 % w / w of the solids
  about 19 .4 % w /w , about 19 .5 % w / w , about 19 .6 % w /w , in the oral liquid formulation . In other embodiments , the
  about 19. 7 % w / w , about 19 . 8 % w / w , about 19 . 9 % w / w ,  paraben or mixture of parabens is present in about 2 % w /w ,
  about 20 % w /w , about 20 .1 % w /w , about 20 .2 % w /w , about 50 about 3 % w / w , about 4 % w / w , about 5 % w / w , about 6 %
  20 .3 % w /w , about 20 .4 % w /w , about 20 . 5 % w / w , about w / w , about 7 % w /w , about 8 % w /w , about 9 % w / w , about
  20 .6 % w /w , about 20 .7 % w /w , about 20 . 8 % w / w , about             10 % w / w , about 11 % w / w , about 12 % w / w , about 13 % w /w ,
   20 .9 % w /w , about 21 % w /w , about 21. 1 % w /w , about 21.2 %          about 14 % w / w , about 15 % w / w , about 16 % w /w , about 17 %
   w / w , about 21. 3 % w / w , about 21. 4 % w / w , about 21. 5 % w / w ,
  about 21.6 % w / w , about 21.7 % w /w , about 21 . 8 % w / w , 55 w /w , about 18 % w /w , about 19 % w / w , about 20 % w /w ,
  about 21. 9 % w /w , about 22 % w /w , about 22 . 5 % w /w , about           about 21 % w /w , about 22 % w /w , about 23 % w /w , about 24 %
  23 % w / w , about 23 . 5 % w /w , about 24 % w / w , about 24 . 5 %         w / w , about 25 % w / w , about 26 % w / w , about 27 % w / w ,
  w / w , about 25 % w / w , about 25 .5 % w /w , about 26 % w /w ,            about 28 % w /w , about 29 % w /w , or about 30 % w /w of the
  about 26 .5 % w /w , about 27 % w /w , about 27 .5 % w /w , about            solids in the oral liquid formulation . In some embodiments ,
  28 % w /w , about 28 . 5 % w /w , about 29 % w / w , about 29 .5 % 60        the paraben or mixture of parabens is present in about 2 %
   w / w , or about 30 % w / w of the solids in the oral liquid                w / w to about 3 % w /w of the solids in the oral liquid
  formulation . In some embodiments, sodium benzoate is                        formulation . In some embodiments, the paraben or mixture
  present in about 10 % w /w to about 25 % w /w of the solids                  of parabens is present in about 23 % w /w to about 26 % w /w
  in the oral liquid formulation . In some embodiments , sodium       of the solids in the oral liquid formulation . In some embodi
  benzoate is present in about 13 . 5 % w / w of the solids in the 65 ments , the paraben ormixture of parabens is present in about
  oral liquid formulation . In some embodiments , sodium ben -                 26 % w /w to about 30 % w / w of the solids in the oral liquid
  zoate is present in about 19 . 3 % w /w of the solids in the oral            formulation .
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  Sweetener and preservative incompatibility
    Paraben preservatives (especially methylparaben ) can
  react with selected sugars ( glucose , fructose , sucrose , lac
  tose, maltose ) and sugar alcohols (xylitol, mannitol, lactitol,
  maltitol, sorbitol) to form transesterification reaction prod
  ucts . This can be undesirable from a formulation and sta
  bility standpoint as the transesterification creates additional
  degradants .
     In some embodiments , the enalapril oral liquid formula - 10
  tion described herein does not comprise a paraben preser
  vative. In further embodiments , the enalapril oral liquid                                  enalapril diketopiperazine
   formulation described herein does not comprise a paraben
  preservative when the formulation also comprises a sugar or        15
  sugar alcohol.
  pH of Enalapril Oral Liquid Formulations
    Buffering agents maintain the pH of the liquid enalapril
  formulation . Non - limiting examples of buffering agents
  include, but are not limited to sodium bicarbonate , potas - 20                     HO .       31
   sium bicarbonate, magnesium hydroxide , magnesium lac
  tate , magnesium glucomate , aluminum hydroxide, alumi
                                                                                                      N
  num hydroxide/sodium bicarbonate co -precipitate, mixture                                                             ??
   of an amino acid and a buffer, a mixture of aluminum 25                                                enalaprilat
   glycinate and a buffer , a mixture of an acid salt of an amino
  acid and a buffer, and a mixture of an alkali salt of an amino             In some embodiments , the percentage of enalaprilat for
   acid and a buffer. Additional buffering agents include citric          mation is increased when the pH is above 3 .5 . (See table C -2
  acid , sodium citrate , sodium tartarate , sodium acetate ,             and FIG . 1 and FIG . 2 ). In some embodiments, the percent
  sodium carbonate , sodium polyphosphate, potassium poly -               age of enalapril diketopiperazine formation is slightly
  phosphate , sodium pyrophosphate , potassium pyrophos -                 increased as the pH is below 4 .
  phate, disodium hydrogenphosphate , dipotassium hydrogen -                 In some embodiments, the pH of the enalapril oral liquid
  phosphate , trisodium phosphate , tripotassium phosphate ,              formulation described herein is less than about 4 . In some
  sodium acetate , potassium metaphosphate, magnesium 35 embodiments, the pH of the enalapril oral liquid formulation
  oxide , magnesium hydroxide , magnesium carbonate, mag ments  described herein is less than about 3 . 5 . In some embodi
                                                                      , the pH of the enalapril oral liquid formulation
  nesium silicate , calcium acetate , calcium glycerophosphate, described herein is between about 3 and about 4 . In some
  calcium chloride, calcium hydroxide, calcium lactate, cal embodiments      , the pH of the enalapril oral liquid formulation
  cium carbonate , calcium bicarbonate, and other calcium 40 described herein is between about 3 and about 3 .5 . In some
  salts . Some buffering agents also impart effervescent quali-  embodiments , the pH of the enalapril oral liquid formulation
  ties when a powder is reconstituted in a solution . In some    described herein is about 3 , about 3 .1 , about 3 .2 , about 3 .3 ,
   embodiments , the buffering agent is not sodium bicarbonate . about    3 .4 , about 3 .5 , about 3 .6 , about 3 .7 , about 3 .8 , about
                                                                 3 . 9 , or about 4 . In some embodiments , the pH of the
     In some embodiments , the oral liquid formulation com - 45 enalapril oral liquid formulation described herein is about
  prises a buffer.                                                        3.3 .
     In some embodiments, the buffer in the enalapril oral                   In some embodiments , the formation of degradants is
  liquid formulation described herein comprises citric acid . In  dependent on the buffer concentration . In some embodi
  some embodiments , the buffer in the enalapril oral liquid ments, the buffer concentration impacts the taste of the
  formulation described herein comprises citric acid and 50 enalapril oral liquid formulation .
  sodium citrate . In some embodiments, the buffer in the           In some embodiments, the buffer concentration is
  enalapril oral liquid formulation described herein comprises between
                                                                 bments, theabout 5 mM and about 20 mM . In some embodi
  citric acid and sodium citrate dihydrate or an equivalent about 7 mMbuffer  ,
                                                                                    concentration is about 5 mM , about 6 mM ,
                                                                                about 8 mM , about 9 mm , about 10 mM , about
  molar amount of sodium citrate anhydrous. hi some embodi
  ments , the sodium citrate is monosodium citrate . In some  me 55 11 mM , about 12 mM , about 13 mM , about 14 mM , about
  embodiments , the sodium citrate is disodium citrate . In some 15  19
                                                                        mM , about 16 mM , about 17 mM , about 18 mM , about
                                                                        mM , or about 20 mM . In some embodiments, the buffer
   embodiments, the sodium citrate is trisodium citrate .           concentration is about 5 mM . In some embodiments, the
      In some embodiments, the buffer in the enalapril oral buffer concentration is about 10 mM . In some embodiments ,
   liquid formulation described herein comprises phosphoric 60 the buffer concentration is about 20 mM .
  acid . In some embodiments , the buffer in the enalapril oral         In some embodiments, citric acid is present in about 0 .7
   liquid formulation described herein comprises sodium phos              to about 2 mg/ml in the oral liquid formulation . In other
  phate .                                                                 embodiments, citric acid is present in about 0 . 7 mg/ml,
      In some embodiments, modulation of the pH is desired to             about 0 .71 mg/ml, about 0 .72 mg/ml, about 0.73 mg/ml,
  provide a lowered impurity profile. In the exemplary stabil - 65 about 0 .74 mg/ml, about 0 .75 mg/ml, about 0 .76 mg/ml,
  ity studies, the main enalapril degradants are enalapril         about 0 .77 mg/ml, about 0 . 78 mg/ml, about 0 .79 mg/ml,
  diketopiperazine and enalaprilat:                                about 0 .8 mg/ml, about 0 .81 mg/ml, about 0 .82 mg/ml,
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                                                         US 10 ,039,745 B2
                                15                                                                16
  about 0 .83 mg/ml, about 0 .84 mg/ml, about 0 .85 mg/ml, w / w , about 35 % w /w , about 36 % w /w , about 37 % w /w ,
  about 0 . 86 mg/ml, about 0 .87 mg/ml, about 0 .88 mg/ml, about 38 % w / w , about 39 % w / w , about 40 % w /w , about 41 %
  about 0 .89 mg/ml, about 0 .9 mg/mL , about 0 . 91 mg/mL, w /w , about 42 % w /w , about 43 % w / w , about 44 % w /w ,
  about 0 .92 mg/mL , about 0 . 93 mg/mL , about 0 . 94 mg/mL, about 45 % w / w , about 46 % w / w , about 47 % w /w , about 48 %
  about 0 .95 mg/mL , about 0 .96 mg/mL , about 0 .97 mg/mL , 5 w / w , about 49 % w / w , about 50 % w / w of the solids in the oral
  about 0 . 98 mg/mL , about 0 . 99 mg/mL, about 1 mg/mL , liquid formulation . In some embodiments , citric acid is
  about 1 . 11 mg/ml, about 1 . 12 mg/ml, about 1 . 13 mg/ml,           present in about 45 % w / w of the solids in the oral liquid
  about 1. 14 mg/ml, about 1 . 15 mg/ml, about 1 . 16 mg/ml,
                                                           formulation . In some embodiments, citric acid is present in
   about 1. 17 mg/ml, about 1 . 18 mg/ml, about 1 . 19 mg/ml,
                                                           about 31 % w /w of the solids in the oral liquid formulation .
  about 1 .2 mg/ml, about 1.21 mg/ml, about 1.22 mg/ml, 10 In some   embodiments , citric acid is present in about 35 %
  about 1 .23 mg/ml, about 1 .24 mg/ml, about 1.25 mg/ml, w /w of the   solids in the oral liquid formulation . In some
  about 1.26 mg/ml, about 1.27 mg/ml, about 1.28 mg/ml, embodiments, citric acid is present in about 19 % w /w of the
  about 1 .29 mg/ml, about 1 . 3 mg/mL , about 1 .31 mg/mL ,
  about 1.32 mg/mL , about 1. 33 mg/mL , about 1. 34 mg/mL, solids      in the oral liquid formulation .
  about 1 . 35 mg/mL , about 1 . 36 mg/mL , about 1. 37 mg/mL , 15 In some embodiments, citric acid is present in about 1 %
  about 1. 38 mg/mL , about 1. 39 mg/mL, about 1.4 mg/ml, w / w to about 5 % w / w of the solids in the oral liquid
  about 1. 41 mg/ml, about 1.42 mg/ml, about 1.43 mg/ml, formulation . In other embodiments, citric acid is present in
  about 1.44 mg/ml, about 1.45 mg/ml, about 1 .46 mg/ml, about 1 % w / w , about 1.1 % w /w , about 1.2 % w /w , about
  about 1.47 mg/ml, about 1 .48 mg/ml, about 1.49 mg/ml, 1 .3 % w / w , about 1 .4 % w / w , about 1.5 % w / w , about 1.6 %
  about 1.5 mg/ml, about 1.51 mg/ml, about 1. 52 mg/ml, 20 w /w , about 1.7 % w /w , about 1. 8 % w /w , about 1. 9 % w /w ,
  about 1. 53 mg/ml, about 1 .54 mg/ml, about 1. 55 mg/ml,        about 2 % w / w , about 2 . 1 % w /w , about 2 . 2 % w /w , about
  about 1. 56 mg/ml, about 1.57 mg/ml, about 1.58 mg/ml, 2 .3 % w /w , about 2 .4 % w /w , about 2 .5 % w /w , about 2 .6 %
  about 1.59 mg/ml, about 1.6 mg/mL , about 1.61 mg/mL, w /w , about 2 .7 % w /w , about 2. 8 % w / w , about 2 . 9 % w /w ,
  about 1 .62 mg/mL , about 1.63 mg/mL , about 1.64 mg/mL,     about 3 % w /w , about 3 . 1 % w /w , about 3 . 2 % w /w , about
  about 1 .65 mg/mL , about 1.66 mg/mL , about 1.67 mg/mL , 25 3 . 3 % w / w , about 3 .4 % w /w , about 3 . 5 % w /w , about 3 .6 %
  about 1. 68 mg/mL , about 1.69 mg/mL , about 1. 7 mg/ml,     w / w , about 3 .7 % w /w , about 3 . 8 % w / w , about 3 . 9 % w / w ,
  about 1 .71 mg/ml, about 1 .72 mg/ml, about 1 .73 mg/ml,              about 4 % w / w , about 4 . 1 % w / w , about 4 . 2 % w / w , about
  about 1. 74 mg/ml, about 1.75 mg/ml, about 1.76 mg/ml, 4 .3 % w /w , about 4 .4 % w /w , about 4 .5 % w /w , about 4 .6 %
  about 1 . 77 mg/ml, about 1 .78 mg/ml, about 1 .79 mg/ml,  w / w , about 4 .7 % w / w , about 4 . 8 % w /w , about 4 . 9 % w / w , or
  about 1.8 mg/ml, about 1. 81 mg/ml, about 1. 82 mg/ml, 30 about 5 % w /w of the solids in the oral liquid formulation . In
  about 1 . 83 mg/ml, about 1 .84 mg/ml, about 1 . 85 mg/ml, some embodiments , citric acid is present in about 2 . 1 % w / w
  about 1. 86 mg/ml, about 1. 87 mg/ml, about 1. 88 mg/ml, of the solids in the oral liquid formulation . In some embodi
   about 1 . 89 mg /ml, about 1 . 9 mg/mL , about 1. 91 mg/mL,          ments , citric acid is present in about 1.6 % w / w of the solids
  about 1 . 92 mg/mL , about 1 .93 mg/mL , about 1 . 94 mg/mL ,         in the oral liquid formulation .
   about 1 . 95 mg/mL , about 1. 96 mg/mL , about 1. 97 mg/mL, 35 In some embodiments , sodium citrate dihydrate is present
   about 1 . 98 mg/mL, about 1. 99 mg/mL , or about 2 mg/mL in   in about 0 . 1 to about 0 . 8 mg/ml in the oral liquid formula
  the oral liquid formulation . In some embodiments , citric acid       tion . In other embodiments , sodium citrate dihydrate is
  is present in about 1 .65 mg/ml in the oral liquid formulation        present in the oral liquid formulation is about 0 . 1 mg/mL ,
  In some embodiments, citric acid is present in about 1 . 82           about 0 . 11 mg/mL , about 0 . 12 mg/mL , about 0 . 13 mg/mL ,
  mg/ml in the oral liquid formulation . In some embodiments , 40 about 0 . 14 mg/mL , about 0 . 15 mg/ml, about 0 . 16 mg/mL ,
   citric acid is present in about 0 . 82 mg/ml in the oral liquid      about 0 . 17 mg/mL, about 0 . 18 mg/mL , about 0 . 19 mg/mL ,
   formulation .                                                        about 0 .2 mg/ml, about 0 .21 mg/ml, about 0 .22 mg/ml,
     In some embodiments, citric acid is present in about 2 to          about 0 .23 mg/ml, about 0 .24 mg/ml, about 0 .25 mg/ml,
   about 3 .5 mg/ml in the oral liquid formulation . In other           about 0 . 26 mg/ml, about 0 .27 mg/ml, about 0 .28 mg/ml,
  embodiments, citric acid is present in about 2 mg/mL , about 45 about 0 .29 mg/ml, about 0 .3 mg/ml, about 0 .31 mg/ml,
  2 .05 mg/mL , about 2 . 1 mg/mL , about 2 . 15 mg/mL , about    about 0 .32 mg/ml, about 0 .33 mg/ml, about 0 .34 mg/ml,
  2 .2 mg/mL, about 2 . 25 mg/mL , about 2 .3 mg/mL, about about 0 . 35 mg/ml, about 0 . 36 mg/ml, about 0 . 37 mg/ml,
   2 .35 mg/mL , about 2 . 4 mg/mL , about 2 .45 mg/mL , about          about 0 . 38 mg/ml, about 0 .39 mg/ml, about 0 .4 mg/ml,
   2 .5 mg/mL , about 2 .55 mg/mL , about 2 .6 mg/mL , about            about 0 .41 mg/ml, about 0 .42 mg/ml, about 0 .43 mg/ml,
   2 .65 mg/mL , about 2 .7 mg/mL, about 2 .75 mg/mL , about 50 about 0 .44 mg/ml, about 0 . 45 mg/ml, about 0 .46 mg/ml,
   2 . 8 mg/mL , about 2 .85 mg/mL , about 2 . 9 mg/mL , about          about 0 . 47 mg/ml, about 0 .48 mg/ml, about 0 .49 mg/ml,
   2 .95 mg/mL , about 3 mg/mL , about 3 .05 mg/ml, about 3 . 1         about 0 . 5 mg/ml, about 0 .51 mg/ml, about 0 .52 mg/ml,
  mg/mL , about 3 . 15 mg/mL, about 3 .2 mg/mL , about 3. 25            about 0 . 53 mg/ml, about 0 .54 mg/ml, about 0 .55 mg/ml,
  mg/mL , about 3 .3 mg/mL , about 3 .35 mg/mL , about 3 .4      about 0 .56 mg/ml, about 0 . 57 mg/ml, about 0 .58 mg/ml,
  mg/mL , about 3 .45 mg/mL , or about 3 .5 mg/mL in the oral 55 about 0 .59 mg/ml, about 0 .6 mg/ml, about 0 .61 mg/ml,
  liquid formulation . In some embodiments , citric acid is             about 0 .62 mg/ml, about 0 .63 mg/ml, about 0 .64 mg/ml,
  present in about 3 . 3 mg/ml in the oral liquid formulation           about 0 .65 mg/ml, about 0 .66 mg/ml, about 0 .67 mg/ml,
      In some embodiments , citric acid is present in about 10 %        about 0 .68 mg/ml, about 0 .69 mg/ml, about 0 .7 mg/ml,
  w / w to about 50 % w /w of the solids in the oral liquid             about 0 .71 mg/ml, about 0 . 72 mg/ml, about 0 .73 mg/ml,
  formulation . In other embodiments , citric acid is present in 60     about 0 .74 mg/ml, about 0 . 75 mg/ml, about 0 .76 mg/ml,
   about 10 % w /w , about 11 % w /w , about 12 % w / w , about 13 %    about 0 .77 mg/ml, about 0 .78 mg/ml, about 0 .79 mg/ml, or
   w / w , about 14 % w / w , about 15 % w / w , about 16 % w / w       about 0 . 8 mg/ml in the oral liquid formulation . In some
  about 17 % w /w , about 18 % w /w , about 19 % w /w , about 20 %      embodiments, sodium citrate dihydrate is present in about
   w / w , about 21 % w /w , about 22 % w / w , about 23 % w / w ,        0 .75 mg/ml in the oral liquid formulation . In some embodi
   about 24 % w / w , about 25 % w /w , about 26 % w / w , about 27 % 65 ments , sodium citrate dihydrate is present in about 0 . 35
   w / w , about 28 % w /w , about 29 % w / w , about 30 % w /w , mg/ml in the oral liquid formulation . In some embodiments ,
   about 31 % w / w , about 32 % w / w , about 33 % w / w , about 34 %    sodium citrate dihydrate is present in about 0 . 2 mg/ml in the
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                                                             US 10 ,039 , 745 B2
                                     17                                                                     18
  oral liquid formulation . In some embodiments , sodium cit          cinnamon, cacao , orange, peppermint, cherry (in particular
  rate dihydrate is present in about 0 . 15 mg/ml in the oral wild cherry ), grape, bubblegum , vanilla , and mixed berry . In
  liquid formulation.                                                 some embodiments , the enalapril liquid formulation
     In some embodiments , sodium citrate dihydrate is present described herein comprises a mixed berry flavoring agent.
  in about 1 % w / w to about 15 % w /w of the solids in the oral 5 Flavoring agents can be used singly or in combinations of
  liquid formulation . In other embodiments, sodium citrate two or more .
  dihydrate is present in about 1 % w /w , about 1. 1 % w / w , about  I n further embodiments, the enalapril liquid formulation
   1. 2 % w / w , about 1. 3 % w / w , about 1. 4 % w / w , about 1. 5 % comprises a coloring agent for identity and /or aesthetic
   w / w , about 1 .6 % w /w , about 1 .7 % w /w , about 1. 8 % w / w    purposes . Suitable coloring agents illustratively include
   about 1. 9 % w /w , about 2 % w / w , about 2 . 1 % w / w , about 10 FD & C Red No. 3 , FD & C Red No . 20 , FD & C Red No . 40 ,
  2 . 2 % w /w , about 2 . 3 % w /w , about 2. 4 % w /w , about 2 .5 %       FD & C Yellow No . 6 , FD & C Blue No. 2 , FD & C Green No.
  w /w , about 2 .6 % w /w , about 2 .7 % w / w , about 2 .8 % w /w ,        5 , FD & C Orange No. 5 , caramel, ferric oxide and mixtures
  about 2 . 9 % w /w , about 3 % w /w , about 3 . 1 % w /w , about           thereof.
   3 .2 % w / w , about 3 . 3 % w / w , about 3 . 4 % w / w , about 3 . 5 %   Thickeners impart viscosity or weight to the resultant
   w / w , about 3 .6 % w /w , about 3 .7 % w / w , about 3 .8 % w /w , 15 liquid forms from the enalapril formulation described
   about 3 . 9 % w /w , about 4 % w / w , about 4 .5 % w / w , about 5 %     herein . Exemplary thickeners include dextrin , cellulose
   w / w , about 5 . 5 % w / w , about 6 % w / w , about 6 .5 % w /w ,       derivatives ( carboxymethylcellulose and its salts , ethylcel
   about 7 % w / w , about 7 .5 % w / w , about 8 % w /w , about 8 . 5 %     lulose , hydroxyethyl cellulose , methylcellulose, hypromel
   w / w , about 9 % w /w , about 9 . 5 % w / w , about 10 % w / w , about   lose , and the like) starches , pectin , polyethylene glycol,
   10 . 5 % w / w , about 11 % w /w , about 11.5 % w /w , about 12 % 20 polyethylene oxide , trehalose and certain gums ( xanthan
  w / w , about 12 . 5 % w / w , about 13 % w / w , about 13. 5 % w / w , gum , locust bean gum , etc .) . In certain embodiments , the
  about 14 % w /w , about 14 .5 % w /w , about 15 % w /w of the enalapril liquid formulation comprises a thickener.
  solids in the oral liquid formulation . In some embodiments,              Additional excipients are contemplated in the enalapril
  sodium citrate dihydrate is present in about 10 .5 % w / w of liquid formulation embodiments . These additional excipi
  the solids in the oral liquid formulation . In some embodi- 25 ents are selected based on function and compatibility with
  ments, sodium citrate dihydrate is present in about 7 .5 %                 the enalapril liquid formulations described herein and may
  w / w of the solids in the oral liquid formulation . In some               be found , for example in Remington : The Science and
  embodiments , sodium citrate dihydrate is present in about                 Practice of Pharmacy , Nineteenth Ed ( Easton , Pa.: Mack
  4 . 5 % w / w of the solids in the oral liquid formulation . In            Publishing Company, 1995 ) ; Hoover, John E ., Remington 's
  some embodiments, sodium citrate dihydrate is present in 30                Pharmaceutical Sciences, (Easton , Pa .: Mack Publishing Co
  about 2 .9 % w /w of the solids in the oral liquid formulation .           1975 ); Liberman , H . A . and Lachman , L ., Eds., Pharmaceu
     In other embodiments , sodium citrate dihydrate is not                  tical Dosage Forms (New York , N . Y.: MarcelDecker 1980 );
  added to the formulation .                                     and Pharmaceutical Dosage Forms and Drug Delivery
  Additional Excipients                                          Systems, Seventh Ed (Lippincott Williams & Wilkins 1999 ),
    In further embodiments , the enalapril liquid formulation 35 herein incorporated by reference in their entirety .
  described herein comprises additional excipients including ,               Stability
  but not limited to , glidants , flavoring agents, coloring agents             Themain enalapril degradants are enalapril diketopipera
  and thickeners . Additional excipients such as bulking agents ,            zine and enalaprilat.
  tonicity agents and chelating agents are within the scope of         The enalapril oral liquid formulations described herein are
  the embodiments .                                              40 stable in various storage conditions including refrigerated ,
    Glidants are substances that improve flowability of a ambient and accelerated conditions. Stable as used herein
  powder. Suitable glidants include, but are not limited to , refers to enalapril oral liquid formulations having about 95 %
  calcium phosphate tribasic , calcium silicate, cellulose (pow - or greater of the initial enalapril amount and about 5 % w / w
  dered ), colloidal silicon dioxide , magnesium silicate, mag -             or less total impurities or related substances at the end of a
  nesium trisilicate , silicon dioxide, starch , talc and the like . In 45 given storage period . The percentage of impurities is calcu
  some embodiments , the enalapril powder formulations                     lated from the amount of impurities relative to the amount of
  described herein comprise a glidant. In some embodiments                   enalapril . Stability is assessed by HPLC or any other known
  the glidant is not colloidal silicon dioxide.                              testing method . In some embodiments , the stable enalapril
     In another embodiment, the enalapril liquid formulation                 oral liquid formulations have about 5 % w /w , about 4 % w / w ,
  comprises a flavoring agent or flavorant to enhance the taste 50 about 3 % w /w , about 2.5 % w / w , about 2 % w /w , about 1.5 %
  or aroma of the formulation in liquid form . Suitable natural              w /w , about 1 % w /w , or about 0 .5 % w / w total impurities or
  or synthetic flavoring agents can be selected from standard                related substances . In other embodiments, the stable enal
  reference books, for example Fenaroli' s Handbook of Flavor                april oral liquid formulations have about 5 % w / w total
   Ingredients , 3rd edition ( 1995 ) . Non -limiting examples of impurities or related substances . In yet other embodiments ,
   suitable natural flavors , some of which can readily be 55 the stable enalapril oral liquid formulations have about 4 %
  simulated with synthetic agents or combinations thereof,                   w / w total impurities or related substances . In yet other
  include almond, anise, apple , apricot, bergamot, blackberry, embodiments, the stable enalapril oral liquid formulations
  blackcurrant, blueberry, cacao , caramel, cherry, cinnamon , have about 3 % w /w total impurities or related substances . In
  clove , coffee , coriander , cranberry , cumin , dill, eucalyptus,  yet other embodiments, the stable enalapril oral liquid
  fennel, fig , ginger, grape , grapefruit , guava , hop , lemon , 60 formulations have about 2 % w /w total impurities or related
  licorice , lime, malt, mandarin , molasses , nutmeg , mixed         substances. In yet other embodiments , the stable enalapril
  berry, orange, peach , pear ,peppermint, pineapple, raspberry , oral liquid formulations have about 1 % w /w total impurities
  rose, spearmint, strawberry , tangerine , tea , vanilla , winter           or related substances .
   green , etc . Also useful, particularly where the formulation is             At refrigerated condition ,the enalapril oral liquid formu
   intended primarily for pediatric use, is tutti-frutti or bubble - 65 lations described herein are stable for at least 1 month , at
   gum flavor, a compounded flavoring agent based on fruit                   least 2 months, at least 3 months, at least 6 months, at least
   flavors . Presently preferred flavoring agents include anise ,            9 months, at least 12 months, at least 15 months, at least 18
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  months , at least 24 months, at least 30 months and at least             15 . 5 % w / w , about 16 % w /w , about 16 .5 % w /w , about 17 %
  36 months. In some embodiments, refrigerated condition is                w /w , about 17 .5 % w /w , about 18 % w / w , about 18 . 5 % w / w ,
  5 + 3° C . In some embodiments, refrigerated condition is                about 19 % w /w , about 19 .5 % w / w , about 20 % w /w , about
  about 2° C ., about 2 . 1° C ., about 2 . 2° C ., about 2 .3° C .,       20 . 5 % w /w , about 21 % w / w , about 21. 5 % w /w , about 22 %
  about 2 .4° C ., about 2 .5° C ., about 2 .6° C ., about 2 .7 ° C ., 5   w /w , about 22 .5 % w /w , about 23 % w /w , about 23.5 % w /w ,
  about 2 . 8° C ., about 2 .9° C ., about 3° C ., about 3 . 1° C .,       about 24 % w /w , about 24 .5 % w /w , about w /w , about 25 . 5 %
  about 3 . 2° C ., about 3 .3° C ., about 3 .4° C ., about 3. 5° C .,     w / w , about 26 % w / w , about 26 . 5 % w / w , about 27 % w / w ,
   about 3 .6° C ., about 3 .7° C ., about 3 .8° C ., about 3 . 9° C .,    about 27 .5 % w /w , about 28 % w / w , about 28. 5 % w / w , about
   about 4° C ., about 4 . 1° C ., about 4 . 2° C ., about 4 .3° C .,      29 % w / w , about 29 . 5 % w / w , or about 30 % w / w of the
   about 4 .4° C ., about 4 .5° C ., about 4 .6° C ., about 4 .7° C ., 10 powder formulation . In some embodiments , enalapril or a
  about 4 .8° C ., about 4 . 9° C ., about 5° C ., about 5 . 1° C ., pharmaceutically acceptable salt thereof, is present in about
  about 5 . 2° C ., about 5 . 3° C ., about 5 .4° C ., about 5 .5º C .,     10 % w /w to about 25 % w /w of the powder formulation . In
  about 5 .6° C ., about 5 .7° C ., about 5 .8° C ., about 5 . 9° C ., some embodiments , enalapril maleate is present in about
  about 6° C ., about 6 . 1° C ., about 6 . 2° C ., about 6 . 3° C .,       13 . 5 % w /w of the powder formulation . In some embodi
  about 6 . 4° C ., about 6 .5° C ., about 6 .6° C ., about 6 . 7° C ., 15 ments , enalapril maleate is present in about 19 . 5 % w /w of
  about 6 . 8° C ., about 6 .9° C ., about 7° C ., about 7 . 1° C ., the powder formulation . In some embodiments , enalapril
  about 7 .2° C ., about 7 .3° C ., about 7 .4° C ., about 7 . 5° C ., maleate is present in about 24 . 5 % w / w of the powder
  about 7.6° C ., about 7 .7° C ., about 7 .8° C ., about 7 .9° C ., or    formulation . In some embodiments, enalapril is present in
  about 8° C . At accelerated conditions, the enalapril oral               about 10 .5 % w /w of the powder formulation . In some
   liquid formulations described herein are stable for at least 1 20 embodiments , enalapril is present in about 14. 5 % w / w of the
  month , at least 2 months , at least 3 months, at least 4 months,        powder formulation . In some embodiments, enalapril is
  at least 5 months, at least 6 months, at least 7 months, at least        present in about 18 % w / w of the powder formulation .
  8 months, at least 9 months , at least 10 months , at least 11              In some embodiments , enalapril or a pharmaceutically
  months or at least 12 months. Accelerated conditions for the             acceptable salt thereof, is present in about 0 . 1 % w / w to
   enalapril oral liquid formulations described herein include 25 about 1 % w / w of the powder formulation . In other embodi
  temperature and/ or relative humidity (RH ) that are at or               ments, enalapril or a pharmaceutically acceptable salt
  above ambient levels ( e . g . 25 + 5° C .; 55 - 10 % RH ). In some      thereof, is present in about 0 . 1 % w /w , about 0 . 15 % w / w ,
  instances, an accelerated condition is at about 25° C ., about           about 0 .2 % w /w , about 0 .25 % w /w , about 0 .3 % w /w , about
   30° C ., about 35° C ., about 40° C ., about 45° C ., about 50° 0 . 35 % w / w , about 0 .4 % w /w , about 0 . 45 % w / w , about 0 . 5 %
   C ., about 55° C . or about 60° C . In other instances, an 30 w / w , about 0 .55 % w /w , about 0 .6 % w /w , about 0 .65 % w / w ,
  accelerated condition is above 55 % RH , about 65 % RH ,                 about 0 .7 % w /w , about 0 .75 % w /w , about 0 .8 % w /w , about
   about 70 % RH , about 75 % RH or about 80 % RH . In further             0 .85 % w / w . about 0 . 9 % w / w , about 0 . 95 % w / w , or about 1 %
   instances, an accelerated condition is about 40° C . or 60° C .         w / w of the powder formulation . In some embodiments ,
  at ambient humidity . In yet further instances, an accelerated enalapril or a pharmaceutically acceptable salt thereof, is
  condition is about 40° C . at 75 + 5 % RH humidity .          35 present in about 0 .4 % w / w to about 0 . 7 % w / w of the powder
  Enalapril Oral Powder Formulation                                formulation . In some embodiments , enalapril maleate is
     In another aspect, enalapril oral liquid formulations                 present in about 0 .45 % w / w of the powder formulation . In
  described herein are prepared from the reconstitution of an              some embodiments , enalapril maleate is present in about
   enalapril powder formulation . In some embodiments , the                0 .6 % w / w of the powder formulation . In some embodi
   enalapril powder formulation comprising enalapril, a sweet- 40 ments , enalapril is present in about 0 .4 % w / w of the powder
   ener, a preservative , and optionally an excipient is dissolved         formulation . In some embodiments , enalapril is present in
  in water, a buffer, other aqueous solvent, or a liquid to form           about 0.5 % w /w of the powder formulation .
  an enalapril oral liquid formulation . In one embodiment, the               Various amounts and concentrations of other components
  sweetening agent is sucralose . In one embodiment, the                   (sweeteners , buffers, preservatives , and the like) in the
   sweetener is not mannitol. In one embodiment, the sweet - 45 enalapril powder formulations are found in the previous
   ening agent is xylitol. In another embodiment, the preser -             section describing the amounts and concentrations for the
   vative is sodium benzoate . In one embodiment, the preser-              analogous enalapril oral liquid formulations. For example , in
  vative is a paraben preservative . In one aspect, the enalapril          some embodiments where sucralose is present in about 1 %
  powder formulation described herein comprises enalapril,                 w /w to about 30 % w / w of the solids in the oral liquid
  sucralose, and sodium benzoate . In some embodiments, the 50 formulation ; in an analogous enalapril powder formulation ,
   enalapril powder formulation herein further comprises a                 sucralose would be about 1 % w / w to about 30 % w /w in the
   flavoring agent. In some embodiments, the enalapril powder              powder formulation . In some embodiments where sodium
   formulation herein further comprises one or more buffering              benzoate is present in about 1 % w / w to about 30 % w / w of
  agents .                                                    the solids in the oral liquid formulation , in an analogous
     In some embodiments , enalapril or a pharmaceutically 55 enalapril powder formulation sodium benzoate is present in
   acceptable salt thereof, is present in about 0 .5 % w / w to            about 1 % w / w to about 30 % w /w in the powder formulation .
  about 30 % w /w of the powder formulation . In other embodi                 Liquid vehicles suitable for the enalapril powder formu
  ments, enalapril or a pharmaceutically acceptable salt                   lations to be reconstituted into an oral solution described
  thereof, is present in about 0 .5 % w /w , about 1 % w /w , about herein are selected for a particular oral liquid formulation
  1.5 % w /w , about 2 % w /w , about 2 .5 % w /w , about 3 % w / w , 60 (solution, suspension , etc .) as well as other qualities such as
  about 3.5 % w /w , about 4 % w /w , about 4.5 % w /w , about 5 % clarity, toxicity , viscosity , compatibility with excipients ,
  w / w , about 5 . 5 % w /w , about 6 % w /w , about 6 .5 % w /w , chemical inertness, palatability , odor, color and economy.
  about 7 % w /w , about 7 .5 % w /w , about 8 % w /w , about 8 .5 % Exemplary liquid vehicles include water , ethyl alcohol,
  w /w , about 9 % w /w , about 9 .5 % w /w , about 10 % w /w , about glycerin , propylene glycol, syrup (sugar or other sweetener
  10 . 5 % w / w , about 11 % w /w , about 11. 5 % w /w , about 12 % 65 based , e.g ., Ora - Sweet® SF sugar-free flavored syrup ),
   w / w , about 12 . 5 % w / w , about 13 % w /w , about 13 .5 % w /w     juices (apple , grape, orange, cranberry, cherry , tomato and
   about 14 % w / w , about 14 . 5 % w / w , about 15 % w / w , about      the like ), other beverages (tea , coffee , soft drinks , milk and
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   the like ), oils (olive , soybean , corn , mineral, castor and the     mixed berry . Flavoring agents can be used singly or in
   like ), and combinations or mixtures thereof . Certain liquid          combinations of two or more .
  vehicles, e . g ., oil and water , can be combined together to             In further embodiments , the enalapril powder formulation
  form emulsions. In some embodiments, water is used for as               described herein comprises a coloring agent for identity
  a vehicle for a enalapril oral liquid formulation . In other 5 and / or aesthetic purposes . Suitable coloring agents illustra
   embodiments, a syrup is used for as a vehicle for a enalapril          tively include FD & C Red No . 3 , FD & C Red No. 20 , FD & C
  oral liquid formulation . In yet other embodiments, a juice is          Red No. 40 , FD & C Yellow No. 6 , FD & C Blue No . 2 , D & C
  used for as a vehicle for a enalapril oral liquid formulation .         Green No . 5 , D & C Orange No . 5 , caramel, ferric oxide and
     Buffering agents maintain the pH of the liquid enalapril             mixtures thereof
  formulation . Non -limiting examples of buffering agents 10 In further embodiments , the enalapril powder formulation
  include , but are not limited to sodium bicarbonate , potas - described herein comprises a thickener. Thickeners impart
  sium bicarbonate, magnesium hydroxide , magnesium lac                   viscosity or weight to the resultant liquid forms from the
   tate , magnesium gluconate , aluminum hydroxide, aluminum              enalapril formulation described herein . Exemplary thicken
  hydroxide/ sodium bicarbonate co precipitate , mixture of an            ers include dextrin , cellulose derivatives (carboxymethyl
  amino acid and a buffer, a mixture of aluminum glycinate 15 cellulose and its salts , ethylcellulose, hydroxyethyl cellu
  and a buffer, a mixture of an acid salt of an amino acid and lose , methylcellulose, hypromellose , and the like) starches ,
  a buffer, and a mixture of an alkali salt of an amino acid and pectin , polyethylene glycol, polyethylene oxide , trehalose
  a buffer. Additional buffering agents include citric acid ,             and certain gums ( xanthan gum , locust bean gum , etc .).
  sodium citrate , sodium tartrate , sodium acetate , sodium   Additional excipients are contemplated in the enalapril
  carbonate , sodium polyphosphate , potassium polyphos - 20 powder formulation embodiments. These additional excipi
  phate , sodium pyrophosphate , potassium pyrophosphate , ents are selected based on function and compatibility with
  disodium hydrogenphosphate, dipotassium hydrogenphos - the the enalapril powder formulation described herein and
  phate , trisodium phosphate, tripotassium phosphate, sodium may be found, for example in Remington : The Science and
  acetate , potassium metaphosphate, magnesium oxide , mag- Practice of Pharmacy, Nineteeth Ed (Easton , Pa.: Mack
  nesium hydroxide, magnesium carbonate , magnesium sili - 25 Publishing Company, 1995 ); Hoover, John E ., Remington 's
  cate , calcium acetate , calcium glycerophosphate, calcium  Pharmaceutical Sciences, (Easton , Pa.: Mack Publishing Co
   chloride, calcium hydroxide , calcium lactate , calcium car -           1975 ); Liberman , H . A . and Lachman , L ., Eds ., Pharmaceu
  bonate , calcium bicarbonate , and other calcium salts . Some           tical Dosage Forms (New York , N . Y.: Marcel Decker 1980 );
  buffering agents also impart effervescent qualities when a               and Pharmaceutical Dosage Forms and Drug Delivery Sys
  powder is reconstituted in a solution .                   30 tems, Seventh Ed (Lippincott Williams & Wilkins 1999),
    In some embodiments , the reconstituted oral liquid for- herein incorporated by reference in their entirety .
  mulation comprises a buffer. In some embodiments, the                      In some embodiments , the enalapril oral liquid formula
  buffer comprises citric acid and sodium citrate . In further            tion prepared from the powder formulations described
   embodiments , the enalapril powder formulation described               herein are homogenous. Homogenous liquids as used herein
  herein comprises additional excipients including , but not 35 refer to those liquids that are uniform in appearance , identity ,
  limited to , glidants, flavoring agents , coloring agents and            consistency and drug concentration per volume. Non - ho
  thickeners . Additional excipients such as bulking agents,              mogenous liquids include such liquids that have varied
  tonicity agents and chelating agents are within the scope of            coloring, viscosity and/ or aggregation of solid particulates ,
  the embodiments .                                           as well as non - uniform drug concentration in a given unit
     Glidants are substances that improve flowability of a 40 volume. Homogeneity in liquids are assessed by qualitative
  powder. Suitable glidants include, but are not limited to , identification or appearance tests and /or quantitative HPLC
  calcium phosphate tribasic , calcium silicate , cellulose (pow - testing or the like . The mixing methods and excipients
  dered ), colloidal silicon dioxide , magnesium silicate , mag-        described herein are selected to impart a homogenous qual
  nesium trisilicate, silicon dioxide , starch , talc and the like. In i ty to a resultant enalapril oral liquid formulation .
  some embodiments, the enalapril powder formulations 45 Mixing methods encompass any type ofmixing that result
  described herein comprise a glidant.                                  in a homogenous enalapril oral liquid formulation . In some
      In another embodiment, the enalapril powder formulation             embodiments , a quantity of an enalapril powder formulation
  described herein comprises a flavoring agent or flavorant to      is added to a liquid vehicle and then mixed by a stirring,
  enhance the taste or aroma of the formulation in liquid form .    shaking, swirling, agitation element or a combination
  Suitable natural or synthetic flavoring agents can be selected 50 thereof. In certain instances, a fraction of a enalapril powder
  from standard reference books, for example Fenaroli 's            formulation (i.e ., one -half, one -third , one -fourth , etc .) is
  Handbook of Flavor Ingredients , 3rd edition ( 1995 ) . Non -           added to a liquid vehicle, mixed by stirring, shaking, swirl
   limiting examples of suitable natural flavors , some of which           ing , agitation or a combination thereof, and the subsequent
  can readily be simulated with synthetic agents or combina -             powder fraction ( s ) is added and mixed . In other embodi
  tions thereof, include almond , anise, apple , apricot, berga - 55 ments, a liquid vehicle is added to an enalapril powder
  mot, blackberry , blackcurrant, blueberry , cacao , caramel,             formulation in a container, for example , a bottle, vial, bag,
  cherry, cinnamon , clove , coffee , coriander, cranberry, cumin ,       beaker, syringe , or the like. The container is then mixed by
  dill , eucalyptus, fennel, fig , ginger, grape , grapefruit , guava ,   stirring , shaking , swirling, agitation , inversion or a combi
  hop , lemon , licorice , lime, malt, mandarin , molasses, nut-    nation thereof. In certain instances, a fractional volume of
  meg , mixed berry , orange , peach , pear , peppermint, pine - 60 the liquid vehicle (i.e ., one -half, one-third, one -fourth vol
  apple , raspberry , rose, spearmint, strawberry , tangerine , tea,      ume, etc .) is added to a enalapril powder formulation in a
  vanilla , wintergreen , etc . Also useful, particularly where the container, mixed by stirring, shaking , swirling, agitation ,
  formulation is intended primarily for pediatric use , is tutti-   inversion or a combination thereof ; and the subsequent
  frutti or bubblegum flavor, a compounded flavoring agent liquid fraction ( s ) is added and mixed . In certain instances, a
  based on fruit flavors . Presently preferred flavoring agents 65 one -half fractional volume of the liquid vehicle is added to
  include anise , cinnamon , cacao , orange , peppermint, cherry    an enalapril powder formulation in a container and mixing
   ( in particular wild cherry ), grape, bubblegum , vanilla , and        by shaking; the other one-half fractional volume of the
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  liquid vehicle is then subsequently added and mixed . In any              Kits and Articles of Manufacture
  of the above embodiments , mixing (i.e., stirring, shaking,                 For the enalapril powder and liquid formulations
   swirling, agitation , inversion or a combination thereof)                described herein , kits and articles of manufacture are also
  occurs for a certain time intervals such as about 10 seconds, described . Such kits can comprise a carrier, package , or
  about 20 seconds , about 30 seconds, about 45 seconds, about 5 container that is compartmentalized to receive one or more
  60 seconds, about 90 seconds, about 120 seconds, about 2 .5 containers
                                                                     container ( s
                                                                                   such as vials , tubes , and the like , each of the
                                                                                   ) comprising one of the separate elements to be
  minutes, about 3 minutes, about 3.5 minutes , about 4 min used in a method                described herein including an enalapril
   utes, or about 5 minutes . In embodiments, where there are powder or liquid formulation            . Suitable containers include ,
  two or moremixing steps, the time intervals for each mixing 10 for example, bottles, vials, syringes
   can be the same (e.g ., 2x10 seconds) or different (e. g., 10 " containers can be formed from a variety, and  of
                                                                                                                     test tubes. The
                                                                                                                    materials such as
   seconds for first mixing and 20 seconds for second mixing)
   In any of the above embodiments, a enalapril oral liquid glassA kitorwill  plastic .
                                                                                     typically may comprise one or more additional
   formulation is allowed to stand for a period of time such as      containers , each with one ormore of variousmaterials ( such
  about 10 minutes, about 20 minutes , about 30 minutes , aboutut 15 as reagents , optionally in concentrated form , and /or devices )
   45 minutes, about 1 hour, about 1 . 5 hours or about 2 hours ,    desirable from a commercial and user standpoint for an
   to allow any air bubbles resultant from any of the mixing enalapril powder or liquid formulation described herein .
  methods to dissipate.                                              Non - limiting examples of such materials include, but not
  Stability of Enalapril Powder Formulation                                 limited to , buffers , diluents , filters , needles , syringes ; carrier ,
     The enalapril powder formulations described herein are 20 package, container, vial and /or tube labels listing contents
   stable in various storage conditions including refrigerated ,             and /or instructions for use , and package inserts with instruc
  ambient and accelerated conditions. Stable as used herein                 tions for use associated with an enalapril powder or liquid
  refer to enalapril powder formulations having about 95 % or               formulation . A set of instructions will also typically be
  greater of the initial enalapril amount and 5 % w /w or less              included .
   total impurities or related substances at the end of a given 25             A label can be on or associated with the container. A label
   storage period . The percentage of impurities is calculated              can be on a container when letters, numbers or other
  from the amount of impurities relative to the amount of                   characters forming the label are attached , molded or etched
                                                                            into the container itself; a label can be associated with a
  enalapril. Stability is assessed by HPLC or any other known container when it is presentwithin a receptacle or carrier that
  testing method. In some embodiments , the stable enalapril
  powder formulations have about 5 % w /w , about 4 %hul       w /w , 3030 be
                                                                           also holds the container, e .g ., as a package insert. A label can
                                                                               used to indicate that the contents are to be used for a
  about 3 % w / w , about 2 .5 % w /w , about 2 % w /w , about 1.5 %
  w /w , about 1 % w / w , or about 0 .5 % w /w total impurities or directionstherapeutic
                                                                           specific             application . The label can also indicate
                                                                                      for use of the contents, such as in the methods
  related substances. In other embodiments , the stable enal         described herein .
  april powder formulations have about 5 % w / w total impu4 -- 3526 Methods
  rities or related substances. In yet other embodiments, the           Provided herein , in one aspect , are methods of treatment
  stable enalapril powder formulations have about 4 % w /w            comprising administration of the enalapril oral liquid for
  total impurities or related substances . In yet other embodi mulations described herein to a subject. In some embodi
  ments, the stable enalapril powder formulations have about ments, the enalapril oral liquid formulations described
  3 % w /w total impurities or related substances . In yet other 40 herein treat hypertension in a subject. Hypertension as used
  embodiments , the stable enalapril powder formulations have       herein includes both primary essential) hypertension and
  about 2 % w /w total impurities or related substances. In yet secondary hypertension . In certain instances, hypertension is
  other embodiments , the stable enalapril powder formula                   classified in cases when blood pressure values are greater
  tions have about 1 % w / w total impurities or related sub -              than or equal to 140 /90 (systolic diastolic ) mm Hg in a
  stances.                                                               45 subject . In certain instances, the enalapril oral liquid formu
     At refrigerated and ambient conditions, in some embodi -               lations described herein treat a subject having a blood
  ments, the enalapril powder formulations described herein                 pressure values are greater than or equal to 140 / 90 mm Hg.
  are stable for at least 1 week , 2 weeks , 4 weeks, 6 weeks , 8           In certain instances, the enalapril oral liquid formulations
  weeks, 10 weeks, 12 weeks, 16 weeks, 20 weeks , at least 24               described herein treat primary ( essential) hypertension in a
  weeks, at least 30 weeks, or at least 36 weeks. At accelerated 50 subject. In other instances, the enalapril oral liquid formu
  conditions, in some embodiments , the enalapril powder lations described herein treat secondary hypertension in a
   formulations described herein are stable for at least 1 week ,            subject.
  at least 2 weeks, at least 3 weeks, at least 4 weeks , at least      In other embodiments, the enalapril oral liquid formula
  5 weeks , at least 6 weeks , at least 7 weeks, at least 8 weeks , tions described herein treat prehypertension in a subject.
  at least 9 weeks, at least 10 weeks , at least 11 weeks or at 55 Prehypertension as used herein refers to cases where a
  least 12 weeks. Accelerated conditions for the enalapril subject’ s blood pressure is elevated above normal but not to
  powder formulations described herein include temperature                  the level considered to be hypertension . In some instances ,
  and / or relative humidity (RH ) that are above ambient levels            prehypertension is classified in cases when blood pressure
  ( e . g . 25 + 4° C .; 55 - 10 % RH ) . In some instances, an accel-      values are 120 - 139 / 80 - 89 mm Hg. In certain instances , the
  erated condition is at about 30° C ., about 35° C ., about 40° 60 enalapril oral liquid formulations described herein treat a
   C ., about 45° C ., about 50° C ., about 55° C . or about 60° C .        subject having blood pressure values of 120 - 139 / 80 -89 mm
  In other instances, an accelerated condition is above 65 %                Hg.
  RH , about 70 % RH , about 75 % RH or about 80 % RH . In                    In yet other embodiments, the enalapril oral liquid for
   further instances, an accelerated condition is about 40° C . or         m ulations described herein are prophylactically adminis
  60° C . at ambient humidity . In yet further instances, an 65 tered to subjects suspected of having, predisposed to , or at
   accelerated condition is about 40° C . at 75 + 5 % RH humid -            risk of developing hypertension . In some embodiments, the
   ity.                                                                     administration of enalapril oral liquid formulations
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  described herein allow for early intervention prior to onset          formulations described herein are provided in a daily dose of
  of hypertension . In certain embodiments , upon detection of          about 0 .01 mg, about 0 .05 mg, about 0 . 1 mg, about 0 .2 mg,
   a biomarker , environmental, genetic factor , or other marker ,      about 0 . 4 mg, about 0 .6 mg, about 0 . 8 mg, about 1 mg, about
  the enalapril oral liquid formulations described herein are           1.5 mg, about 2 mg, about 2 .5 mg, about 3 mg, about 4 mg,
  prophylactically administered to subjects .                         5 about 5 mg, about 6 mg, about 7 mg, about 8 mg, about 9
     In further embodiments , the enalapril oral liquid formu- mg, about 10 mg, about 11 mg, about 12 mg, about 15 mg,
  lations described herein treat heart failure (e . g ., symptomatic  about 20 mg, about 25 mg, about 30 mg, about 35 mg, about
  congestive ), asymptomatic left ventricular dysfunction , 40 mg, about 45 mg, about 50 mg, about 55 mg, about 60
  myocardial infarction , diabetic nephropathy and chronic mg, about 65 mg, about 70 mg, about 76 , mg, about 80 mg,
  renal failure . In certain instances , the enalapril oral liquid 10 about 85 mg, about 90 mg or about 100 mg, or any range
  formulations described herein treat symptomatic congestive          derivable therein . In certain instances , the enalapril oral
  heart failure. In other instances, the enalapril oral liquid          liquid formulations described herein are provided in a dose
  formulations described herein treat asymptomatic left ven -           per day of about 1 mg. In certain instances, the enalapril oral
  tricular dysfunction . In further instances, the enalapril oral       liquid formulations described herein are provided in a dose
  liquid formulations described herein treatmyocardial infarc - 15 per day of about 2 mg. In certain instances, the enalapril oral
   tion . In yet further instances , the enalapril oral liquid for-     liquid formulations described herein are provided in a dose
  mulations described herein treat diabetic nephropathy . In yet        per day of about 3 mg. In certain instances , the enalapril oral
  further instances, the enalapril oral liquid formulations liquid formulations described herein are provided in a dose
  described herein treat chronic renal failure .                  per day of about 4 mg. In certain instances , the enalapril oral
  Dosing                                                       20 liquid formulations described herein are provided in a dose
     In one aspect , the enalapril oral liquid formulations are per day of about 5 mg. In certain instances, the enalapril oral
  used for the treatment of diseases and conditions described     liquid formulations described herein are provided in a dose
  herein . In addition , a method for treating any of the diseases      per day of about 6 mg. In certain instances , the enalapril oral
  or conditions described herein in a subject in need of such           liquid formulations described herein are provided in a dose
  treatment, involves administration of enalapril oral liquid 25 per day of about 7 mg. In certain instances, the enalapril oral
  formulations in therapeutically effective amounts to said      liquid formulations described herein are provided in a dose
  subject.                                                       per day of about 8 mg. In certain instances, the enalapril oral
     Dosages of enalapril oral liquid formulations described            liquid formulations described herein are provided in a dose
  can be determined by any suitable method . Maximum tol-               per day of about 9 mg. In certain instances , the enalapril oral
  erated doses (MTD ) and maximum response doses (MRD ) 30 liquid formulations described herein are provided in a dose
  for enalapril and/ or enalaprilat can be determined via estab - per day of about 10 mg. In certain instances, the enalapril
  lished animal and human experimental protocols as well as oral liquid formulations described herein are provided in a
   in the examples described herein . For example , toxicity and        dose per day of about 11 mg. In certain instances , the
   therapeutic efficacy of enalapril and/or enalaprilat can be          enalapril oral liquid formulations described herein are pro
  determined by standard pharmaceutical procedures in cell 35 vided in a dose per day of about 12 mg. The dose per day
  cultures or experimental animals , including, but not limited         described herein can be given once per day or multiple times
  to , for determining the LD50 (the dose lethal to 50 % of the         per day in the form of sub - doses given b .i. d ., t.i.d ., q .i. d ., or
  population ) and the ED50 (the dose therapeutically effective         the like where the number of sub - doses equal the dose per
   in 50 % of the population ). The dose ratio between the toxic day .
   and therapeutic effects is the therapeutic index and it can be 40 In further embodiments, the daily dosages appropriate for
  expressed as the ratio between LDs, and ED 50 . Enalapril             the enalapril oral liquid formulations described herein are
  dosages exhibiting high therapeutic indices are of interest.          from about 0 .01 to about 1 .0 mg/ kg per body weight. In one
   The data obtained from cell culture assays and animal                embodiment, the daily dosages appropriate for the enalapril
  studies can be used in formulating a range of dosage for use          oral liquid formulations are from about 0 . 02 to about 0 .8
  in human . The dosage of such compounds lies preferably 45 mg/kg enalapril per body weight. In another embodiment,
  within a range of circulating concentrations that include the the daily dosage appropriate for the enalapril oral liquid
   EDs, with minimal toxicity . The dosage may vary within              formulations are from about 0 . 05 to about 0 .6 mg/kg per
  this range depending upon the dosage form employed and                body weight. In another embodiment, the daily dosage
  the route of administration utilized . Additional relative dos - appropriate for the enalapril oral liquid formulations is about
  ages , represented as a percent of maximal response or of 50 0 .05 mg/kg, about 0 . 06 mg/kg, about 0 . 07 mg/kg, about 0 . 08
  maximum tolerated dose , are readily obtained via the pro mg/kg, about 0 . 10 mg/kg , about 0 .15 mg/kg , about 0 .20
  tocols .                                                          mg/kg , about 0 . 25 mg/kg, about 0 . 30 mg/kg, about 0 .40
     In some embodiments , the amount of a given enalapril mg/kg , about 0 . 50 mg/kg , or about 0 .60 mg/kg.
  oral liquid formulation that corresponds to such an amount           In other embodiments the enalapril oral liquid formula
  varies depending upon factors such as the particular enal - 55 tions are provided at the maximum tolerated dose (MTD ) for
  april salt or form , disease condition and its severity , the     enalapril and /or enalaprilat. In other embodiments , the
  identity ( e.g ., weight, sex ) of the subject or host in need of amount of the enalapril oral liquid formulations adminis
  treatment, but can nevertheless be determined according to            tered is from about 10 % to about 90 % of the maximum
  the particular circumstances surrounding the case , including ,       tolerated dose (MTD ), from about 25 % to about 75 % of the
  e .g., the specific agent being administered, the liquid com - 60 MTD , or about50 % of the MTD . In particular embodiments ,
  position type , the condition being treated , and the subject or      the amount of the enalapril oral liquid formulations admin
  host being treated .                                                  istered is from about 5 % , 10 % , 15 % , 20 % , 25 % , 30 % , 35 % ,
     In some embodiments , the enalapril oral liquid formula -          40 % , 45 % , 50 % , 55 % , 60 % , 65 % , 70 % , 75 % , 80 % , 85 % ,
  tions described herein are provided in a dose per day from            90 % , 95 % , 99 % , or higher , or any range derivable therein ,
   about 0 .01mg to 100 mg, from about 0 . 1 mg to about 80 mg, 65 of the MTD for enalapril and/ or enalaprilat.
   from about 1 to about 60 , from about 2 mg to about 40 mg          In further embodiments , the enalapril oral liquid formu
   of enalapril . In certain embodiments, the enalapril oral liquid     lations are provided in a dosage that is similar, comparable
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   or equivalent to a dosage of a known enalapril tablet                     administered as a continuous dose , i.e., administered daily to
   formulation . In other embodiments , the enalapril oral liquid            a subject. In some other embodiments , enalapril oral liquid
  formulations are provided in a dosage that provides a                      formulations described herein are administered intermit
  similar, comparable or equivalent pharmacokinetic param                    tently (e.g . drug holiday that includes a period of time in
  eters (e . g ., AUC , Cmar, Tmar, Cmin , T12 ) as a dosage of a 5 which the formulation is not administered or is administered
  known enalapril tablet formulation . Similar, comparable or in a reduced amount ).
  equivalent pharmacokinetic parameters , in some instances,          In some embodiments an enalapril oral liquid formulation
  refer to within 80 % to 125 % , 80 % to 120 % , 85 % to 125 % ,            is administered to a subject who is in a fasted state . A fasted
   90 % to 110 % , or increments therein , of the given values. It           state refers to a subject who has gone without food or fasted
  should be recognized that the ranges can , but need not be 10 for a certain period of time. General fasting periods include
  symmetrical, e .g ., 85 % to 105 % .                          at least 4 hours , at least 6 hours , at least 8 hours , at least 10
  Administration                                                hours, at least 12 hours, at least 14 hours and at least 16
     Administration of an enalapril oral liquid formulation is at            hours without food. In some embodiments , an enalapril oral
   a dosage described herein or at other dose levels and                     liquid formulation is administered orally to a subject who is
  formulations determined and contemplated by a medical 15 in a fasted state for at least 8 hours . In other embodiments ,
  practitioner. In certain embodiments , the enalapril oral liquid an enalapril oral liquid formulation is administered to a
  formulations described herein are administered for prophy -                subject who is in a fasted state for at least 10 hours . In yet
  lactic and / or therapeutic treatments . In certain therapeutic            other embodiments, an enalapril oral liquid formulation is
  applications , the enalapril oral liquid formulations are                  administered to a subject who is in a fasted state for at least
  administered to a patient already suffering from a disease, 20 12 hours . In other embodiments , an enalapril oral liquid
  e.g ., hypertension , in an amount sufficient to cure the disease formulation is administered to a subject who has fasted
   or at least partially arrest or ameliorate the symptoms, e . g .,overnight.
  lower blood pressure . Amounts effective for this use depend         In other embodiments an enalapril oral liquid formulation
  on the severity of the disease , previous therapy , the patient's is administered to a subject who is in a fed state . A fed state
  health status, weight, and response to the enalapril formu- 25 refers to a subject who has taken food or has had a meal. In
   lations, and the judgment of the treating physician . Thera -             certain embodiments , an enalapril oral liquid formulation is
  peutically effective amounts are optionally determined by                  administered to a subject in a fed state 5 minutes post-meal,
  methods including, but not limited to , a dose escalation                  10 minutes post-meal, 15 minutes post-meal, 20 minutes
  clinical trial.                                                            post-meal, 30 minutes post-meal, 40 minutes post-meal, 50
     In prophylactic applications, the enalapril oral liquid 30 minutes post -meal, 1 hour post-meal, or 2 hours post-meal.
   formulations described herein are administered to a patient               In certain instances, an enalapril oral liquid formulation is
  susceptible to or otherwise at risk of a particular disease ,              administered to a subject in a fed state 30 minutes post -meal.
   e . g ., hypertension . Such an amount is defined to be a                 In other instances , an enalapril oral liquid formulation is
  " prophylactically effective amount or dose.” In this use, the             administered to a subject in a fed state 1 hour post-meal. In
  precise amounts also depend on the patient' s state of health , 35 yet further embodiments , an enalapril oral liquid formula
  weight, and the like. When used in a patient, effective           t ion is administered to a subject with food .
  amounts for this use will depend on the risk or susceptibility                In further embodiments described herein , an enalapril oral
  of developing the particular disease, previous therapy, the                liquid formulation is administered at a certain time of day for
  patient' s health status and response to the enalapril formu               the entire administration period . For example, an enalapril
   lations, and the judgment of the treating physician .                  40 oral liquid formulation can be administered at a certain time
     In certain embodiments wherein the patient' s condition                 in the morning , in the evening , or prior to bed . In certain
  does not improve , upon the doctor 's discretion the admin -               instances , an enalapril oral liquid formulation is adminis
  istration of an enalapril oral liquid formulations described               tered in the morning . In other embodiments, an enalapril oral
  herein are administered chronically, that is, for an extended              liquid formulation can be administered at different times of
  period of time, including throughout the duration of the 45 the day for the entire administration period . For example , an
  patient' s life in order to ameliorate or otherwise control or             enalapril oral liquid formulation can be administered on 8 : 00
  limit the symptoms of the patient 's disease . In other embodi-            am in the morning for the first day , 12 pm noon for the next
  ments, administration of an enalapril oral liquid formulation              day or administration , 4 pm in the afternoon for the third day
  continues until complete or partial response of a disease .                or administration , and so on .
      In certain embodiments wherein a patient's status does 50 Further Combinations
   improve , the dose of an enalapril oral liquid formulation                   The treatment of certain diseases or conditions ( e. g .,
  being administered may be temporarily reduced or tempo -                   hypertension , heart failure, myocardial infarction and the
  rarily suspended for a certain length of time (i.e., a “ drug like ) in a subject with an enalapril oral liquid formulation
  holiday ” ). In specific embodiments, the length of the drug described herein encompass additional therapies and treat
  holiday is between 2 days and 1 year, including by way of 55 ment regimens with other agents in some embodiments.
  example only , 2 days , 3 days , 4 days, 5 days, 6 days , 7 days, Such additional therapies and treatment regimens can
   10 days, 12 days , 15 days , 20 days, 28 days , 35 days , 50 include another therapy, e .g ., additional anti -hypertensives ,
  days , 70 days, 100 days , 120 days, 150 days, 180 days , 200 for treatment of the particular disease or condition in some
  days , 250 days , 280 days, 300 days , 320 days , 350 days , and           embodiments . Alternatively, in other embodiments , addi
   365 days . The dose reduction during a drug holiday is , by 60 tional therapies and treatment regimens include other agents
  way of example only , by 10 % 400 % , including by way of                  used to treat adjunct conditions associated with the disease
  example only 10 % , 15 % , 20 % , 25 % , 30 % , 35 % , 40 % , 45 % ,       or condition or a side effect from the enalapril oral liquid
  50 % , 55 % , 60 % , 65 % , 70 % , 75 % , 80 % , 85 % , 90 % , 95 % ,      formulation in the therapy .
   and 100 % .                                                    Additional agents for use in combination with an enalapril
     In some embodiments, enalapril oral liquid formulations 65 oral liquid formulation described herein include , but are not
  described herein are administered chronically . For example ,              limited to , diuretics (loop , thiazide, potassium -sparing , and
  in some embodiments , an enalapril oral liquid formulation is              the like ), beta blockers (metoprolol, propanolol, pronethalol,
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                                  29                                                                     30
  and the like), alpha blockers (phentolamine , phenoxyben -             domestic and farm animals . As used herein , the terms
  zamine, tamsulosin , prazosin , and the like ),mixed alpha and         " patient,” “ subject” and “ individual” are intended to include
  beta blockers (bucindolol, carvedilol, labetalol), calcium             living organisms in which certain conditions as described
  channel blockers (dihydropyridines such as nifedipine ,                herein can occur. Examples include humans , monkeys ,
  amlodipine , etc ., dilitazem , verapamil and the like ), angio - 5 cows, sheep , goats , dogs , cats , mice , rats, and transgenic
  tensin II receptor antagonists (saralasin , Isartan , eprosartin ,  species thereof. In a preferred embodiment, the patient is a
  irbesartan , valsartan , and the like), other ACE inhibitors primate . In certain embodiments , the primate or subject is a
   ( captopril , quinapril , ramipril, lisinopril, zofenopril, and the   human . In certain instances, the human is an adult. In certain
   like ), aldosterone antagonists (eplerenone , spironolactone          instances, the human is child . In further instances , the human
  and the like ), vasodilators (hydralazine and the like ) and 10 is 12 years of age or younger . In certain instances, the human
  alpha -2 agonists (clonidine , moxonidine , guanabenz and the          is elderly . In other instances , the human is 60 years of age
  like).                                                                 or older. Other examples of subjects include experimental
  Certain Definitions                                                    animals such as mice , rats , dogs, cats, goats, sheep , pigs , and
     Unless defined otherwise , all technical and scientific             cows. The experimental animal can be an animalmodel for
  terms used herein have the same meanings as commonly 15 a disorder , e . g ., a transgenic mouse with hypertensive
  understood by one of ordinary skill in the art. Although any           pathology . A patient can be a human suffering from hyper
  methods and materials similar or equivalent to those                   tension , or its variants or etiological forms.
  described herein can be used in the practice or testing of               By “ pharmaceutically acceptable” , it is meant the carrier,
   embodiments described herein , certain preferred methods,             diluent or excipient must be compatible with the other
  devices , and materials are now described .               20 ingredients of the formulation and not deleterious to the
     As used herein and in the appended claims, the singular recipient thereof.
   forms " a " , " an ” , and “ the” include plural reference unless        The term " pharmaceutical composition ” shall mean a
  the context clearly dictates otherwise . Thus, for example,            composition comprising at least one active ingredient,
  reference to " an excipient” is a reference to one or more             whereby the composition is amenable to investigation for a
   excipients and equivalents thereof known to those skilled in 25 specified , efficacious outcome in a mammal ( for example ,
   the art, and so forth .                                         without limitation , a human ). Those of ordinary skill in the
      The term “ about” is used to indicate that a value includes        art will understand and appreciate the techniques appropriate
  the standard level of error for the device or method being             for determining whether an active ingredient has a desired
   employed to determine the value . The use of the term " or”           efficacious outcome based upon the needs of the artisan .
   in the claims is used to mean " and/ or ” unless explicitly 30           A   “ therapeutically effective amount” or “ effective
  indicated to refer to alternatives only or the alternatives are        amount” as used herein refers to the amount of active
  mutually exclusive , although the disclosure supports a defi-          compound or pharmaceutical agent that elicits a biological
  nition that refers to only alternatives and to " and /or.” The         or medicinal response in a tissue, system , animal, individual
  terms “ comprise ," " have ” and “ include” are open - ended or human that is being sought by a researcher, veterinarian ,
  linking verbs. Any forms or tenses of one or more of these 35 medical doctor or other clinician , which includes one or
  verbs , such as “ comprises," " comprising ," " has," " having," more of the following: ( 1 ) preventing the disease ; for
  “ includes” and “ including," are also open - ended . For example , preventing a disease , condition or disorder in an
  example , any method that “ comprises," " has” or “ includes"          individual that may be predisposed to the disease , condition
  one ormore steps is not limited to possessing only those one           or disorder but does not yet experience or display the
  or more steps and also covers other unlisted steps .          40 pathology or symptomatology of the disease , ( 2 ) inhibiting
     " Optional” or “ optionally ” may be taken to mean that the the disease ; for example , inhibiting a disease , condition or
  subsequently described structure , event or circumstance may     disorder in an individual that is experiencing or displaying
  or may not occur, and that the description includes instances          the pathology or symptomatology of the disease , condition
  where the events occurs and instances where it does not.               or disorder (i.e., arresting further development of the pathol
     As used herein , the term " therapeutic ” means an agent 45 ogy and / or symptomatology ) , and ( 3 ) ameliorating the dis
  utilized to treat, combat, ameliorate, prevent or improve an           ease ; for example , ameliorating a disease , condition or
   unwanted condition or disease of a patient. In some embodi            disorder in an individual that is experiencing or displaying
  ments , a therapeutic agent such as enalapril is directed to the       the pathology or symptomatology of the disease , condition
  treatment and /or the amelioration of, reversal of, or stabili-        or disorder (i. e ., reversing the pathology and / or symptoma
  zation of the symptoms of hypertension described herein . 50 tology ) . As such , a non - limiting example of a “ therapeuti
     “ Administering” when used in conjunction with a thera -            cally effective amount" or " effective amount” of a formu
  peutic means to administer a therapeutic systemically or               lation of the present disclosuremay be used to inhibit, block ,
  locally , as directly into or onto a target tissue, or to admin -      or reverse the activation , migration , or proliferation of cells
   ister a therapeutic to a patient whereby the therapeutic              or to effectively treat hypertension or ameliorate the symp
  positively impacts the tissue to which it is targeted . Thus, as 55 toms of hypertension .
  used herein , the term “ administering” , when used in con                The terms “ treat,” “ treated ,” “ treatment,” or “ treating ” as
  junction with an enalapril formulation , can include , but is          used herein refers to both therapeutic treatment in some
  not limited to , providing an enalapril formulation into or            embodiments and prophylactic or preventative measures in
  onto the target tissue ; providing an enalapril formulation            other embodiments , wherein the object is to prevent or slow
  systemically to a patient by, e . g ., oral administration 60 (lessen ) an undesired physiological condition , disorder or
  whereby the therapeutic reaches the target tissue or cells .  disease , or to obtain beneficial or desired clinical results . For
  “ Administering” a formulation may be accomplished by                  the purposes described herein , beneficial or desired clinical
  injection , topical administration , and oral administration or        results include, but are not limited to , alleviation of symp
  by other methods alone or in combination with other known    toms; diminishment of the extent of the condition , disorder
  techniques.                                               65 or disease ; stabilization (i. e ., not worsening) of the state of
     The term “ animal” as used herein includes, but is not the condition , disorder or disease ; delay in onset or slowing
  limited to, humans and non -human vertebrates such as wild ,           of the progression of the condition , disorder or disease;
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                                                                                                                                                                     32
   amelioration of the condition, disorder or disease state; and                                                                                      TABLE A - 2 - continued
  remission (whether partial or total ), whether detectable or
  undetectable , or enhancement or improvement of the con                                                                       Primary Degradants Present  in the Formulations (% w /w of
                                                                                                                                                   enalapril maleate )
  dition , disorder or disease . Treatment includes eliciting a
  clinically significant response without excessive levels of 5                                                                                                            Formulation
   side effects. Treatment also includes prolonging survival as                                                                                                                                                   A6
  compared to expected survival if not receiving treatment. A                                                      Hours at 60° C . A1                     A2              A3         A4          A5
  prophylactic benefit of treatment includes prevention of a                                                                                                      Enalaprilat
  condition , retarding the progress of a condition , stabilization
  of a condition , or decreasing the likelihood of occurrence of 10                                                                          0 .09
                                                                                                                                             5 . 20
                                                                                                                                                           0 . 15
                                                                                                                                                          16 . 9
                                                                                                                                                                           0 . 29
                                                                                                                                                                         47 . 4
                                                                                                                                                                                     0 . 14
                                                                                                                                                                                    16 . 1
                                                                                                                                                                                                  0 . 16
                                                                                                                                                                                                 20 . 3
                                                                                                                                                                                                                  0 .12
                                                                                                                                                                                                              15 . 6
  a condition . As used herein , “ treat,” “ treated ," " treatment,                                                           180           9 . 94       348 .        113          33.5         42 .2       31. 7
  or “ treating ” includes prophylaxis in some embodiments .
                                          EXAMPLES
                                                                                                                                            Example B
                                           Example A
                                                                                                                        Effect of Buffer Concentration on the Formation of
             Effect of pH on the Formation of Degradants in                                                               Degradants in Enalapril Formulations at 60° C .
                      Enalapril Formulations at 60° C .
                                                                                                           20          Formulations were prepared containing enalapril maleate
       Formulations were prepared containing enalapril maleate                                                    according to Table B - 1. The pH of each solution was
  according to Table A -1 . The pH of each solution was measured and adjusted as needed to pH 3 .3 with ~ 1N HCI
  recorded . Five milliliters of each formulation were trans - or - 0 .5N NaOH . Five milliliters of each formulation were
  ferred to each of four 3 - dram glass screw -capped vials with  transferred to each of six 3 -dram glass screw -capped vials
  Teflon inserts in the caps. The vials were placed into a 60° 25 with Teflon inserts in the caps. The vials were placed into a
  C . heating chamber then one vial removed and analyzed by 60° C . heating chamber then two vials were removed and
  HPLC at times of zero , - 97 and ~ 180 hours.                   analyzed by HPLC at times of zero , ~ 66 and ~ 139 hours.
                                                         TABLE A - 1
                  Formulation (in mg/mL ) of Enalapril Formulations at Varying pH
                                          and Citrate Buffer Concentration

                                                                         Formulation (mM citrate )
  Component                                       A1 (50 ) A2 (50 ) A3 (50 ) A4 (50) A5 (50 ) A6 (25 )
  Enalapril maleate                                 1.0      1.0      1.0      1.0     1.0 1.0
  Mannitol
   Xylitol
                                                   50            50            50           50
                                                                                                         50
                                                                                                         50            6 ..0

   Citric acid , anhydrous                          7. 35         5 .05         2 .55        5 .05        5 .05        2 .76
  Sodium citrate, dihydrate                         3 .45         7 .0         10 . 8        7 .0         7 .0         3 .15
  Sodium benzoate
  Methylparaben sodium
                                                     1            1            9
                                                                               1            1
                                                                                            -             1
                                                                                                          11.75        0 . 335
  Propylparaben sodium                                                                                                 0 .095
  Potassium sorbate
  Sucralose
  Silicon dioxide
                                                    00 ..7575     0. 75
                                                                  0 .75         0.75 00 ..7575 00 .. 7575 000...075
                                                                                0 .75                            75
                                                                                                                75

  Mixed berry flavor (powdered )                    0 .5          0 .5          0 .5         0 .5         0 .5         0 .5
  Water                                              qs           qs            qs            qs          qs              qs
  PH                                                3 .4          4.4           5 .2         4 .4         4 .5         4 .4
  qs = sufficient quantity


     The results of the HPLC analysis for the two main 50                                                                                                  TABLE B - 1
  degradants in the samples, enalapril diketopiperazine and
  enalaprilat, are provided in Table A -2 .                                                                                    Formulation (in mg/mL) of Enalapril Maleate Formulations at
                                                                                                                                           Varying Citrate Buffer Concentrations
                           TABLE A -2                       55
                                                                                                                                                                                    Formulation

             Primary Degradants Present in the Formulations (% w /w of                                                                                              B1 (5 mM B2 (10 mM B3 (20 mM
                                         enalapril maleate )                                                      Component                                          citrate ) citrate ) citrate )
                                                           Formulation
                                                                                                                  Enalapril maleate                                    1. 0              1 .0              1. 0
                                                                                                                  Citric acid , anhydrous                              0 .82             1 .65             3 .29
                                                                                                          60 Sodium citrate , anhydrous                                0 .19            0 .38              0 .75
   Hours at 60°C. A1                       A2              A3            A4            A5           A6            Sodium benzoate                                       1. 0             1.0               1.0
                                                                                                                  Sucralose                                            0 .7             0 .7               0 .7
                                      Enalapril Diketopiperazine                                                  Mixed berry flavor (powdered )                       0 .5             0.5                0 .5
                                                                                                                  Water                                                 as
          go                 0.04
                             3 . 10
                                          0 .03
                                          0 .88
                                                         0 .03
                                                         0 .33
                                                                      0.03
                                                                      0 . 86
                                                                                    0 .03
                                                                                    0 .70
                                                                                                0.03
                                                                                               0 .53      65
                                                                                                                  PH                                                   3.3                                 3.3

                             6 .21        1 .77          0 .75        1 .73         1 .43       1 .07             qs = sufficient quantity
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                                                  33                                                                                                              34
     The results of the HPLC analysis for the two main                                                                                              TABLE C -1 -continued
  degradants in the samples, enalapril diketopiperazine and
  enalaprilat, are provided in Table B -2 .                                                                                          Composition of Enalapril Maleate Formulations

                                         TABLE B - 2
                                                                                                                      Component                          C1            C2           C3               C4             C5
                                                                                                                      Sucralose                          9. 20         9 .20        6 .64            1.62            1 .62
                  Primary Degradants Present in the Formulations                                                      Mixed berry flavor                 6 .13         6 . 13       4 .43            1.08            1.08
                            ( % w / w of enalapril maleate )
                                                                                                                      Total solids                     173.5       170 .7        472 .3        115 .2              115.2
                                                        Formulation                                                                             Liquid Formulations (mg/mL )
                                                               B2                                                     Enalapril maleate                  1 ,00          1 .00        1.00            1. 00           1.00
   Hours at 60° C . B1 (5 mM citrate ) ( 10 mM citrate ) B3 (20 mM citrate )                                          Mannitol                           6 .07          6 .07     44 .5
                                                                                                                      Xylitol                                                                   44 . 7             43 . 4
                              Enalapril Diketopiperazine                                                              Citric acid , anhydrous            2 . 33         2 . 90      3 .21        2 .50              2 . 50
                                                                                                                      Sodium citrate ,                   2 . 00         1 . 20      0 .87            1 . 90         1 .90
              0               0 .01                           0 .01                         0 .01                15   anhydrous
             66               1 . 57                          1 .63                          1 . 79                   Sodium methylparaben               0 . 34         0 . 34      1 ,00            1 .00           1.00
         139                  3 . 70                          3 . 94                        4 . 24                    Sodium propylparaben               0 .09         0 .09         1.00
                                               Enalaprilat                                                            Potassium sorbate                  1 .00          1 . 00
                                                                                                                      Sodium benzoate                                                1.00            1 .00           1 . 00
                              0 . 00                          0 . 00                        0 . 00                    Xanthan Gum                                                                                    0 .75
             66               2. 98                           2 . 88                        3 . 19
                                                                                                                 20
                                                                                                                      Colloidal silicon dioxide          0 .07         0 .07        0 .50                            0 .50
         139                  5 . 28                          5 .23                         5 .69                     Sucralose                          0 .75         0 .75        0 .75            0 . 75          0 .75
                                                                                                                      Mixed berry flavor                 0 . 50        0 .50        0 .50            0 .50           0 .50
                                                                                                                      pH (measured )                     4 .4          3. 8         3. 7             4 .4            4 .6

                                         Example C
                                                                     The results of the HPLC analysis for the diketopiperazine
           Stability of Enalapril Maleate Formulations         23 and enalaprilat degradants in the samples are provided in
                 Containing Paraben Preservatives                 Table C - 2
     Powder formulations were prepared according to Table                                     TABLE C - 2
                                                                       Degradant Content After Storage ( % w / w of enalapril maleate )
  xylitol were added to a 2.5 liter polypropylene screw capped
  bottle. The bottle was mixed by inversion in a Turbulaº                              Storage                     Formulation
  mixer for 5 minutes. The mannitol or xylitol was then added                       °C. Weeks c1 C2 C3 C4 C5
  and the components mixed for 5 minutes, then the other half
  of the mannitol or xylitol was added and a final mix of 5 35                             Liquid Formulations
  minutes was completed .
    One liter of solution formulation was prepared for each                                                           Diketopiperazine          5                      0 .03     0 .04 0 .04 0 .02 0 .02
  formulation by adding an appropriate amount of each pow                                                                                                              0 .02     0 .03 0 .03 0. 03 0 .02
                                                                                                                                                                       0 .03     0 .04      0 .04
  dered formulation to a 1 liter volumetric flask and adding                                                                               19 - 23                     0 .03     0 .04      0 .04         0 .02       0 .02
  about 500 mL water. The powder was dissolved with mixing 40                                                                                                          0 .05     0 .09      0 .11         0 .05       0 .04
                                                                                                                                                                       0 .08     0 . 17     0 . 19
  then the contents of the flask were brought to 1 liter with                                                                              $                           0 .03     0 .04      0 .04         0 . 02      0 .02
  additional water. The amount of powder to add was deter                                                                                                              0 . 35    0 .91      1 . 10        0 . 31      0 . 21
  mined such that the final concentration of enalapril maleate                                                                                                         0 .65      1 . 80    2 .05
  was 1. 0 mg/mL . Fifty milliliter aliquots of each formulation
  were placed into HDPE bottles . The bottles were screw - 45
  capped and placed into storage at 5° C . - 3° C ., at room
  temperature (19-23° C .) and at 40° C . + 2° C . At various
                                                                                                                      Enalaprilat           a




                                                                                                                                           19 - 23
                                                                                                                                                         tOo           0 . 18
                                                                                                                                                                       0 .18
                                                                                                                                                                       0 .55
                                                                                                                                                                       0 . 18
                                                                                                                                                                        1 .35
                                                                                                                                                                                 0 . 14 0 .12 0 . 13 0 . 19
                                                                                                                                                                                 0 . 15
                                                                                                                                                                                 0 .38 0 .34
                                                                                                                                                                                 0 .14 0 .12
                                                                                                                                                                                 0 .83 0 .80
                                                                                                                                                                                            0 . 12        0 .43

                                                                                                                                                                                                          0 . 13
                                                                                                                                                                                                           1. 75
                                                                                                                                                                                                                      0 .53

                                                                                                                                                                                                                      0 . 19
                                                                                                                                                                                                                      2 .29
  times , bottles were removed from the storage condition and                                                                                                          3 .34      2 .06     1.98
  analyzed .                                                                                                                                                        0 . 18 0 . 14 0 . 12 0 . 13 0 . 19
                                                                                                                                                                   10 .496 .08 6 . 11 12 . 30 16 . 14
                                                                                                                 50                                                24 . 37       14 . 12 14 .22
                                         TABLE C - 1
                  Composition of Enalapril Maleate Formulations
  Component
                                                                                                                                                        Example D
                                                                                                                 55
                            Powder Formulation                                                                               Stability of Enalapril Maleate Formulations
   Enalapril maleate               12 . 3            12 . 3               8. 86      2 .16             2 . 16
                                                                                                                                   Containing Benzoate Preservative
  Mannitol                         74 . 4            74 . 4            394 . 0
   Xylitol                                                                         96 . 6             93. 7              Powder formulations were prepared according to Table
  Citric acid , anhydrous
  Sodium citrate,
                                   28 .6
                                   24 . 5
                                                     35 .6
                                                     14 . 7
                                                                         28 . 4
                                                                          7 .73
                                                                                     5 .40
                                                                                     4 . 10             5.40 60 D -1. All components in each formulation except enalapril
                                                                                                       4 . 10
  anhydrous                                                                                                           maleate and mannitol or xylitol were blended with a mortar
  Sodium methylparaben                  4 .17         4 .17               8 .86      2. 16             2 . 16         and pestle . The enalapril maleate was then triturated with the
  Sodium propylparaben                  1 . 10        1 . 10                                                          blend . The xylitol or mannitol was then triturated into the
  Potassium sorbate                    12. 3         12 . 3                                                           blend using a geometric dilution technique.
  Sodium benzoate                                                         8 . 86     2 . 16             2 . 16
  Xanthan Gum                                                                                           1 . 62   65     One liter of solution formulation was prepared for each
  Colloidal silicon dioxide             0 .859        0 .859              4 .43                         1 .08         formulation by adding an appropriate amount of each pow
                                                                                                                      dered formulation to a 1 liter volumetric flask and adding
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                               35                                                                                                        36
   about 500 mL water. The powder was dissolved with mixing                 were placed into HDPE bottles. The bottles were screw
  then the contents of the flask were brought to 1 liter with               capped and placed into storage at 5° C . + 3° C ., at room
   additional water. The amount of powder to add was deter                  temperature (19 -23° C .) and at 40° C . - 2° C . At various
  mined such that the final concentration of enalapril maleate              times, bottles were removed from the storage condition and
  was 1. 0 mg/mL . Fifty milliliter aliquots of each formulation            analyzed .
                                                                                             TABLE D - 1
                                                                           Composition of Enalapril Maleate Formulations
                                             Component                                                 D1                  D2                    D3               D4           D5         D6
                                                                                    Powder Formulation ( grams)
                                            Enalapril maleate                                               3.63               3 .63              3 .63            3 .63        8 .86      2 . 16
                                            Xylitol                                            537. 2                   176 . 1                                 537 .2
                                            Mannitol                                                                                        319.4                            401. 2      98. 9
                                            Citric acid , anhydrous                                    11. 9              11. 9              11. 9               10 .4        26 . 6      6 .48
                                            Sodium citrate , anhydrous                                  2 .72                  2 .72          2 .72               4 .86       11 . 3       2 . 76
                                            Sodium benzoate                                             3 .63              3 .63                  3 .63           3 .63         8 .86      2 . 16
                                            Rebalance X00 (sucralose and maltodextrin )                                   10 .9
                                            Sucralose                                                                                                                           6 .64      1.62
                                             Saccharin sodium                                                                                     7 . 26
                                            Colloidal silicon dioxide                                                                                                           4 .43
                                            Mixed berry flavor                                       1.82 1.82 1.82 1.824 .43 1.08
                                             Total solids                                          561 211     350. 561 472 .3 115 .2
                                                                                    Liquid Formulations (mg/mL )
                                             Enalaprilmaleate                                               1.00               1.00               1.00             1.00         1.00       1.00
                                             Xylitol                                               148 . 0                48 . 5                                148. 0
                                            Mannitol                                                                                             88.0                         45 . 3     45 . 8
                                             Citric acid , anhydrous                                        3 . 29             3 . 29             3 .29            2 .85        3 .00      3 .00
                                             Sodium citrate , anhydrous                                     0 .75              0 .75              0 .75            1 . 34       1 .28      1 .28
                                             Sodium benzoate                                                1 .00              1 .00              1 .00            1 .00        1 .00      1 .00
                                            Rebalance X60 ( sucralose and maltodextrin )                                       3 .00
                                            Sucralose                                                                                                                           0 .75      0 .75
                                            Saccharin sodium                                                                                      2 .00
                                             Colloidal silicon dioxide                                                                                                          0 .50
                                            Mixed berry flavor                                              0 .50              0 . 50             0 .50           0 .50         0 .50     0 . 50
                                            pH (measured )                                                  3.2                33.2               3..4            33.7          33..6      3 .6



                                                                              The results of the HPLC analysis for the diketopiperazine
                                                                            and enalaprilat degradants in the samples are provided in
                                                                            Table D - 2 .
                                                                                                              TABLE D - 2
                                                                           Degradant Content After Storage ( % w /w of enalapril maleate )
                                                                                         Storage
                                                                                         Storage                                                       Formulation

                                                                                   °C. Weeks D1                                         D2             D3            D4          D5       D6
                                                                                                       Liquid Formulations
                                                            Diketopiperazine         5                               0 .04              0 .02          0 .03        0 .03       0 .04    0 .04
                                                                                                                     0 .07              0 .03         0 .05         0 .05       0 .03
                                                                                                                     0 . 11             0 .06         0 .08         0 .08       0 .05
                                                                                                                     0 .08              0 .04         0 .06         0 .06
                                                                                                                     0 . 11             0 .07         0 .09         0 .07
                                                                                  19 - 23                            0 .04              0 .02         0 . 03        0 .03       0 .04    0 .04
                                                                                                                      0 .27             0 .21         0 .24         0 . 16      0 . 12   0 .12
                                                                                                                     0 .50              0 .41          0 .47        0 .30       0 .21    0 . 22
                                                                                                                     0 .62              0 .52          0 . 58       0 . 35
                                                                                                                      1 . 39            1 .20          1.33         0 .76
                                                                                   40                                 0 .04             0 . 02         0 .03        0 .03       0 .04    0 .04
                                                                                                                      2 .87             2 .32        2 .73          1 .57       1 .21    1 . 13
                                                                                                                     5 . 13             4 .42        5 .44          2 .97       2 . 23   2 . 16
                                                                                                                     6 .86             5 . 90        6 .90          3 .91




                                                                                                   oNOTtD
                                                                                                                     13.63            12 .18        13.56           7 .74
                                                             Enalaprilat             5                                0 .03             0 .02        0 .03          0 .03       0 . 13   0 .14
                                                                                                                     0 . 15             0 . 12        0 .06         0 . 17      0 .13
                                                                                                                     0 .22              0 . 19        0 . 22        0 .27       0 . 34
                                                                                                   1                 0 .20              0 . 17        0 . 19        0 .22
                                                                                                                      0 .32             0 .30         0 . 30        0 .39
                                                                                  19 - 23                             0 .03             0.02          0.03          0 .03       0 . 13   0 . 14
                                                                                                                      0 .69             0 .66          0 .69        0 . 86      0 . 74   0 . 76
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                                                                                      US 10 ,039 ,745 B2
                                                37                                                                                                            38
                                      TABLE D - 2 - continued
                 Degradant Content After Storage ( % w / w of enalapril maleate )
                       _        Storage               -                       Formulation

                           °C. Weeks D1                            D2         D3        D4        D5           D6
                                           8              1. 38    1. 33      1 .41     1 .68     1.83         1.82
                                          12              1.71     1 .68      1.73      2 . 15
                                                          3 .63    3 .61      3 . 59 4 . 55
                           40
                                          Sot             0 .03
                                                          4 . 76
                                                          8 . 95
                                                                   0 .02
                                                                   4 .42
                                                                   8 .64
                                                                              0 .03 0 . 03
                                                                              4 . 76
                                                      11.01 10 .64 11.41 16 .16
                                                                                     6 . 45
                                                                              9 .61 12 . 94
                                                                                                  0 . 13
                                                                                                  5 .55
                                                                                                 12 .73
                                                                                                              0 . 14
                                                                                                              5 . 24
                                                                                                             12 . 18

                                          26          17 .18 17 .11 18.30 27. 36
                                                                                                    15
                               Example E                                                                                                                  -continued
            Stability of Solution Formulations of Enalapril                                                               Composition of EnalaprilMaleate Formulations (mg/mL )
                                          Maleate
                                                                                                    20 Component                                   E1             E2          E3           E4              E5      E6
       Solution formulations were prepared according to Table           Citric acid anhydrous                                                    3.29           3.29        3.29         3.291 .65 0 .82
   E - 1 . Thirty milliliter aliquots of each formulation were          Sodium citrate                                                           0 . 75         0 .75       0 .75        0 .75        0 .38 0 .19
  placed into HDPE bottles . The bottles were screw - capped anhydrous
  and placed into storage at 5º C . 13° C ., at room temperature Sodium benzoate                                                                 1. 00          1.00         1.00        1. 00        1.00 1.00
  (19 -23° C .) and at 40° C . - 2° C . At11 various times,, bottles
                                             Various times           25 Sucralose
                                                             boules 25  Sucra                                                                                               0 . 70                    0 .70 0 .70
  were removed from the storage condition and analyzed .                Mixed berry flavor                                                       0 .50                      0 .50        0.50         0.50 0 .50
                                                                                                            Water                                  qs            qS          qs           qs           qS          qs
                                                                                                            pH (measured )                        3.3           3. 3        3.3          3.4          3.3         3. 3
             Composition of Enalapril Maleate Formulations (mg/mL)
                                                                                                            qs = sufficient quantity
  Component                       E1             E2 E3                     E4 E5 E6 30
   Enalaprilmaleate                1.00           1.00 1.00                1.00 1.00 1.00                      The results of the HPLC analysis for the diketopiperazine
  Xylitol                       150
                                150             200
                                                200                     150
                                                                        150                                 and enalaprilat degradants in the samples are provided in
                                                                                                            Table E - 2 .
                                                                                                                                             TABLE E - 2
                                                                                                           Degradant Content After Storage ( % w / w of enalapril maleate )
                                                                                                                             Storage                                     Formulation

                                                                                                                       °C. Weeks E1                          E2          E3           E4           E5            E6
                                                                                        Diketopiperazine                 5               0     0 .01        0 .01       0 .01        0 .01        0 .01         0 .01
                                                                                                                                         4     0 .04        0 .04       0 .05        0 .04        0 .03         0 .03
                                                                                                                                              0 . 04        0 .04       0 .04        0 .04        0 .03         0 .03
                                                                                                                                              0 .05         0 .05       0 .04        0 .05        0 .04         0 .04


                                                                                                                       19 -23
                                                                                                                                   BOB        0 .07
                                                                                                                                              0 .18
                                                                                                                                              0 .01
                                                                                                                                                            0 . 06
                                                                                                                                                            0 . 18
                                                                                                                                                            0 .01
                                                                                                                                                                        0 .05
                                                                                                                                                                        0 . 16
                                                                                                                                                                        0 .01
                                                                                                                                                                                     0 .06
                                                                                                                                                                                     0 . 14
                                                                                                                                                                                     0 .01
                                                                                                                                                                                                  0 .05
                                                                                                                                                                                                  0 . 15
                                                                                                                                                                                                  0 .01
                                                                                                                                                                                                                0 .05
                                                                                                                                                                                                                0 . 14

                                                                                                                                                                                                                0 .01
                                                                                                                                              0 .22         0 .23       0 .21        0 .20        0 . 16        0 .15
                                                                                                                                              0 . 35        0 . 35      0 . 32       0 . 31       0 .29         0 .28
                                                                                                                                               0 .58        0 .59       0 .53        0 .51        0 .48         0 . 45

                                                                                                                                   UNE
                                                                                                                                   26          1 . 10

                                                                                                                                               3 .02
                                                                                                                                                            1 . 10

                                                                                                                                                            3 .04
                                                                                                                                                                        1 .00
                                                                                                                                                                        2 .75
                                                                                                                                                                                     0 .95
                                                                                                                                                                                     2 .64
                                                                                                                                                                                                  0 .97
                                                                                                                                                                                                  2 . 30
                                                                                                                                                                                                                0 .92
                                                                                                                                                                                                                2 . 15
                                                                                                                                         0     0 .01        0 .01       0 .01        0 .01        0 .01         0 .01
                                                                                                                                               2 .65        2 . 71      2 .60        2 . 42       1 .76         1 .68
                                                                                                                                               4 .02        3 .99        3 .99       3 .62        3 . 37        3 .13
                                                                                                                                               6 .72        6 .42       6 .47        6 .00        5 .53         5 . 29
                                                                                        Enalaprilat                    a                      0 .00         0 .00       0 .01        0 .02        0 .00         0 .00
                                                                                                                                              0 .07         0 .09       0 . 10       0 . 11       0 .07         0 .08
                                                                                                                                              0 . 12        0 .14       0 . 10       0 .13        0 .09         0 .08
                                                                                                                                               0 . 16       0 . 15      0 . 15       0 .17        0 . 14        0 . 11
                                                                                                                                              0 .31         0 . 30      0 . 29       0 .31        0 .27         0 .24
                                                                                                                                                                                                  0 .54         0 . 46

                                                                                                                       19 - 23
                                                                                                                                   AOS   8
                                                                                                                                               0 .75
                                                                                                                                               0 .00
                                                                                                                                               0 .65
                                                                                                                                               1 . 17
                                                                                                                                               1 .67
                                                                                                                                                            0 . 75
                                                                                                                                                            0 .00
                                                                                                                                                            0 .65
                                                                                                                                                            1. 19
                                                                                                                                                            1 .69
                                                                                                                                                                        0 .74
                                                                                                                                                                        0 .01
                                                                                                                                                                        0 .68
                                                                                                                                                                        1. 20
                                                                                                                                                                        1 . 72
                                                                                                                                                                                     0 .71
                                                                                                                                                                                     0 .02
                                                                                                                                                                                     0 . 70
                                                                                                                                                                                     1 .23
                                                                                                                                                                                     1 .80
                                                                                                                                                                                                 ????? ? ? EOS
                                                                                                                                                                                                  0 .00
                                                                                                                                                                                                  0 .50
                                                                                                                                                                                                  1.03
                                                                                                                                                                                                  1. 30
                                                                                                                                                                                                                0 .00
                                                                                                                                                                                                                0 .46
                                                                                                                                                                                                                0 .95
                                                                                                                                                                                                                1 .21
                                                                                                                                               3 . 36       3.38        3 .42        3 .57        3 .07         2 .90
                                                                                                                                   UN                                                             6 . 32        5 .88
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                                                                                                   US 10 ,039 ,745 B2
                                                        39                                                                                                    40
                                           TABLE E - 2 - continued
                   Degradant Content After Storage ( % w / w of enalapril maleate )

                             -        Storage
                                      Storage                -                            Formulation

                                 °C.      Weeks E1                           E2           E3                E4          E5        E6
                                               62                7.998 .02                8 .04            8.57
                                 40       0                      0.00 0 .00               0 .01            0 .02       0.00      0 .00

                                                OTN
                                                12
                                                                 4 .85
                                                                 8 .08
                                                             10 .70
                                                                             4 .93
                                                                             8 . 06
                                                                                          5 . 19
                                                                                          8 . 56
                                                                            10 .48 11.01 11. 97
                                                                                                           5 .42
                                                                                                           9 .01
                                                                                                                       3.33
                                                                                                                       6 .65
                                                                                                                       8 . 14
                                                                                                                                 3 .25
                                                                                                                                 6 .35
                                                                                                                                 7. 96

                                          Example F                                                                                                         Example H
                                                                                                                                         Clinical Trial : Bioavailability Study of 10mg
          Effect of pH on the Formation of Degradants in                                                                            Enalapril Maleate Oral Solution vs . 10mg Epaned®
           Enalapril Formulations at 5° C . and 19 - 23° C .                                                                          Powder for Oral Solution (Reconstituted ) Under
                                                                                                                                                     Fasted Conditions
     The content of enalapril diketopiperazine and enalaprilat 20
  that were formed after 8 weeks of storage for formulations      The objective of this open - label, randomized, two-period ,
  C1-C3 and D1-D5 are plotted in FIG . 1 (5º C . + 3° C .) and two-treatment, two -way crossover study was to compare the
                                                                      oral bioavailability of a test formulation of 10 mL of
  FIG . 2 (19- 23° C . storage ). These formulations all contained enalapril
  20mM total citrate buffer content, butwith varying pH . The                   maleate oral solution , 1 mg/mL (formulation E -5 ),
                                                               the 25 to an  equivalent
  general effects of formulation pH on the formation of the comparator product            oral dose of the commercially available
  two main enalapril degradants are shown .                                                 , Epaned® ( enalapril maleate ) Powder
                                                                      for Oral Solution , 1 mg/mL , when administered under fasted
                                                                      conditions in healthy adults.
                             Example G                                   Study design: Thirty - two healthy adult subjects received
                                                                                                                           30 a single 10 mL dose of enalapril maleate oral solution , 1
                                                                                                                                mg/mL , formulation E - 5 ( Treatment A ), in one period and a
          Antimicrobial Effectiveness Testing of Enalapril                                                                      separate single dose of Epaned Powder for Oral Solution
                       Maleate Formulations at pH 3 .3                                                                          ( reconstituted with the supplied Ora -Sweet SF ), 1 mg/mL
                                                                                                                                ( Treatment B ) in another period . Each treatment was admin
      Enalapril formulations were prepared containing differing 35 istered after an overnight fast of at least 10 hours , followed
   amounts of the antimicrobial preservative , sodium benzoate .                                                                by a 4 -hour fast postdose . Each treatment was administered
   The formulations were then tested for antimicrobial effec                                                                    via a 10 mL oral dosing syringe and followed with 240 mL
  tiveness (AET) according to the procedures in the 2014 was separated by a washout period of at least 7 days.                  of room temperature tap water. Each drug administration
  United States Pharmacopeia 37, Chapter <51> for category
  3 products . The formulation ofthe formulations and the AET 4040 scheduled
                                                                     During each study period , meals were the same and
                                                                             at approximately the same times relative to dose .
  results are included in Table G -1 .                             In addition , during each period , blood samples were
                                          TABLE G - 1                                                                   obtained prior to and following each dose at selected times
                                                                                                                        through 72 hours postdose . Pharmacokinetic samples were
                         Formulation and AET Testing Results                                                         45 analyzed for enalapril and its metabolite enalaprilat using a
                                                                                                                        validated analytical method ; appropriate pharmacokinetic
                                                                          Formulation                                   parameters were calculated for each formulation using non
                                                                                                                        compartmental methods. Blood was also drawn and urine
                                               G1                 G2            G3             G4                 G5    collected for clinical laboratory testing at screening and at
                                       Formulation ((mg
                                       Formulation   mg//mL
                                                         mL))                                                             50 the end of the study.
                                                                                                                                  Statistical Methods: The concentration -time data were
  Enalaprilmaleate                          1.00 1.00 1.00 1.00 1.00                                                            analyzed using noncompartmental methods in PhoenixTM
  Xylitol                                 150    150  150  150                                                                  WinNonlin® ( Version 6 .3 , Pharsight Corporation ). Concen
  Sucralose                                                     0 . 70  tration -time data that were below the limit of quantitation
  Citric acid , anhydrous                   1.64 1.64 1.64 1.64 1.80 55 (BLQ ) were treated as zero in the data summarization and
  Sodium citrate , anhydrous                   0 .322             0 . 322        0 .322            0 .322                       descriptive statistics . In the pharmacokinetic analysis, BLQ
  Sodium citrate, dihydrate                                                                              0 . 165                concentrations were treated as zero from time- zero up to the
  Sodium benzoate                              1.00               0 .80         0.60               0 .40 1.0                    time at which the first quantifiable concentration was
  Mixed berry flavor                           0.50               0 .50         0 .50              0.50 0 .50                   observed ; embedded and/or terminal BLQ concentrations
  Water                                        q . s.             q.S.           q. .              q.8 .          q.s. 60 were treated as “ missing” . Actual sample times were used
  HCI/NaOH                                                       as need to achieve pH                                          for all pharmacokinetic and statistical analyses . Analysis of
  Measured pH                                  3.3                3.3             3.3              3.3           3.3            variance (ANOVA ) and the Schuirmann ' s two one -sided
                                              AET Results
                                                                                                                                t- test procedures at the 5 % significance level were applied to
  USP <51>                                    Pass               Pass           Pass           Pass Pass                        the log- transformed pharmacokinetic exposure parameters,
                                                                                                                          65 Cmax , AUCiast, and AUCint. The 90 % confidence interval for
  qs = sufficient quantity                                                                                                   the ratio of the geometric means ( Test/Reference ) was
                                                                                                                             calculated . Bioequivalence was declared if the lower and
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  upper confidence intervals (CIS ) of the log - transformed                6 . The stable oral liquid formulation of claim 1 , wherein
  parameters were within 80 % to 125 % for enalapril and                 the pH of the stable oral liquid formulation is less than about
   enalaprilat.                                                          3 .5 .
     Results: A total of 32 subjects participated in the study and           7 . The stable oral liquid formulation of claim 1 , wherein
  29 of these subjects completed both study periods. Based on 5 the pH of the stable oral liquid formulation is between about
  the geometric mean ratios of enalapril and enalaprilat AUCs            3 and about 3 .5 .
  ( AUC and AUC ), the bioavailability of the enalapril                    8 . The stable oral liquid formulation of claim 1 , wherein
  maleate oral solution ( formulation E -5 ) relative to the             the pH of the stable oral liquid formulation is about 3 .3 .
  Epaned Powder for Oral Solution (reconstituted ) was
  approximately 105 % to 110 % . The geometric mean ratios of 10 9 . The stable oral liquid formulation of claim 1 , wherein
                                                                the formulation is stable at about 5 + 3° C . for at least 18
  enalapril and enalaprilat Cmor were approximately 115 % and months
  109 % , respectively . The 90 % CI for comparing the maxi            .
  mum exposure to enalapril and enalaprilat, based on In                   10 . The stable oral liquid formulation of claim 1 , wherein
  ( Cmax), was within the accepted 80 % to 125 % limits. The 16 months.  the formulation is stable at about 5 + 3° C . for at least 24
  90 % CIs for comparing total systemic exposure to enalapril 15 mo11. A stable oral liquid formulation , comprising :
  and enalaprilat, based on ln (AUCjast) and In (AUCint), was
  within the accepted 80 % to 125 % limits. Therefore , the test           (i) about 10 % to about 25 % (w / w of solids ) enalapril or
  formulation of enalapril maleate oral solution , 1 mg/mL , is                 a pharmaceutically acceptable salt or solvate thereof;
  bioequivalent to the reference product, Epaned Powder for                ( ii ) a buffer comprising about 17 % to about 47 % ( w / w of
  Oral Solution (reconstituted ), 1 mg/mL , under fasted con - 20              solids) citric acid and about 1 % to about 11 % (w /w of
  ditions.                                                                      solids ) sodium citrate;
    While preferred embodiments of the present invention                   ( iii) about 3 % to about 25 % (w /w of solids) sodium
  have been shown and described herein , it will be obvious to                benzoate ; and
  those skilled in the art that such embodiments are provided              (iv ) water;
  by way of example only . Numerous variations, changes , and 25              wherein the formulation is stable at about 5 + 3° C . for
  substitutions will now occur to those skilled in the art                      at least 12 months; and
  without departing from the invention . It should be under                   wherein the stable oral liquid formulation has about
  stood that various alternatives to the embodiments of the                      95 % w /w or greater of the initial enalapril amount
   invention described herein may be employed in practicing                     and about 5 % w / w or less total impurity or related
  the invention . It is intended that the following claims define 30            substances at the end of the given storage period .
  the scope of the invention and that methods and structures            12 . The stable oral liquid formulation of claim 11 further
  within the scope of these claims and their equivalents be comprising             about 8 % to about 18 % ( w /w of solids) sucral
  covered thereby.
     What is claimed is :                                            ose .
     1 . A stable oral liquid formulation, comprising:            35 13 . The stable     oral liquid formulation of claim 11 further
     (i) about 0 .6 to about 1.2 mg/ml enalapril or a pharma comprising            a flavoring agent.
                                                                        14 . The stable oral liquid formulation of claim 11 , wherein
        ceutically acceptable salt or solvate thereof;
     ( ii ) a buffer comprising about 0 .8 to about 3 .5 mg/mlcitricin   the formulation does not contain mannitol.
                                                                           15 . The stable oral liquid formulation of claim 11 , wherein
          acid and about 0 . 1 to about 0 . 8 mg/ml sodium citrate ;
     ( iii) about 0 .7 to about 1.2 mg/ml sodium benzoate ; and 40in the16formulation    does not contain silicon dioxide.
                                                                            . The stable oral liquid formulation of claim 11, wherein
     ( iv ) water;
         wherein the formulation is stable at about 5 + 3° C . for the pH of the stable oral liquid formulation is less than about
             at least 12 months ; and                                3 .5 .
         wherein the stable oral liquid formulation has about the17pH. The         stable oral liquid formulation of claim 11 , wherein
                                                                               of the stable oral liquid formulation is between about
             95 % w /w or greater of the initial enalapril amount 45     3 and about 3 .5 .
             and about 5 % w / w or less total impurity or related  18 . The stable oral liquid formulation of claim 11 , wherein
           substances at the end of the given storage period .   the pH of the stable oral liquid formulation is about 3 .3 .
    2 . The stable oral liquid formulation of claim 1 further       19 . The stable oral liquid formulation of claim 11 , wherein
  comprising about 0 .5 to about 0 .9 mg/ml sucralose .
                                                                 the
                                                                 ! formulation
     3. The stable oral liquid formulation of claim 1 further 50 months              is stable at about 5 + 3° C . for at least 18
  comprising a flavoring agent.                                           .
     4 . The stable oral liquid formulation of claim 1 , wherein    20 . The stable oral liquid formulation of claim 11, wherein
  the formulation does not contain mannitol.                             the formulation is stable at about 5 + 3° C . for at least 24
     5. The stable oral liquid formulation of claim 1 , wherein          months.
  the formulation does not contain silicon dioxide.                                             *   *   *   *   *
